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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

SHANNAN WHEELER, et al.,
                                      CIVIL ACTION
           Plaintiffs,
                                      Case No. 4:17-cv-2960
     v.
                                      Hon. Keith P. Ellison
ARKEMA INC.,

           Defendant.



                 CLASS ACTION SETTLEMENT AGREEMENT




                                                                       EXHIBIT
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                       CLASS ACTION SETTLEMENT AGREEMENT

       This Class Action Settlement Agreement (the “Agreement” or “Settlement Agreement,” as
defined in Part II) is entered into between Plaintiffs (as defined in Part II), on behalf of themselves
individually and on behalf of the Class (as defined in Part II), on the one hand, and Defendant (as
defined in Part II), on the other hand, subject to the terms and conditions set forth below and the
approval of the Court (as defined in Part II).

I.      RECITALS

        1.1.    On October 3, 2017, Plaintiffs Shannan Wheeler, Kelly and David Phelps, Corey
Prantil, Ronald and Betty Whatley, Keith Lyons, Bevely and Roland Flannel, Ezequiel Villareal,
Bret and Phyllis Simmons, Greg Nason, and Larry and Tanya Anderson filed a Class Action
Complaint in the United States District Court for the Southern District of Texas on behalf of
themselves individually and all others similarly situated against Arkema France S.A. and Arkema
Inc., asserting claims for negligence, trespass, nuisance, property damage, personal injury, failure
to warn, product liability, ultra-hazardous activity, gross negligence, negligent infliction of
emotional distress, punitive damages, and piercing the corporate veil.

         1.2.    On December 18, 2017, Plaintiffs filed a First Amended Class Action Complaint
asserting claims for negligence, trespass, private nuisance, public nuisance, violation of the
Resource Recovery and Conservation Act, violation of the Comprehensive Environmental
Response, Compensation, and Liability Act, violation of the Clean Water Act, strict products
liability, and failure to warn.

        1.3.    On January 25, 2018, Arkema Inc. moved to dismiss Plaintiffs’ claims for trespass,
private nuisance, public nuisance, violation of the Resource Recovery and Conservation Act,
violation of the Comprehensive Environmental Response, Compensation, and Liability Act,
violation of the Clean Water Act, strict products liability, and failure to warn. The Court denied
in part and granted in part Arkema Inc.’s motion to dismiss on May 30, 2018.

        1.4.    On April 16, 2018, Arkema S.A. (incorrectly sued as Arkema France S.A.) moved
to dismiss all claims brought against it. The Court granted Arkema S.A.’s motion and dismissed
it from the Litigation on May 30, 2018.

       1.5.  On June 19, 2018, Plaintiffs filed a Second Amended Class Action Complaint
against Arkema Inc. asserting claims for negligence, trespass, public nuisance, violation of the
Resource Recovery and Conservation Act, and violation of the Comprehensive Environmental
Response, Compensation, and Liability Act.

        1.6.   On November 13, 2018, the Court entered an order dismissing without prejudice
the claims of Shannan Wheeler, Ezequiel Villareal, and Kelly and David Phelps, thereby dropping
them as named plaintiffs and proposed class representatives. Their claims are each subject to the
Release in Section VII below because they are Class Members.

        1.7. Plaintiffs filed a Motion for Class Certification on February 26, 2019, seeking to
certify a class for property damage under Federal Rule of Civil Procedure 23(b)(3) and classes for
property remediation and medical surveillance under Federal Rule of Civil Procedure 23(b)(2),


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with Corey Prantil, Ronald Whatley, Betty Whatley, Bevely Flannel, Roland Flannel, Greg Nason,
Larry Anderson, and Tanya Anderson as proposed class representatives. Class Counsel did not
seek to appoint Bret or Phyllis Simmons as class representatives, and they have not dismissed their
claims.

       1.8.   The Court issued its Memorandum and Order on June 3, 2019, granting Plaintiffs’
Motion for Class Certification, certifying a class for property damage under Federal Rule of Civil
Procedure 23(b)(3) and classes for property remediation and medical surveillance under Federal
Rule of Civil Procedure 23(b)(2), with all classes defined as follows: “All residents and real
property owners located within a 7-mile radius of the Crosby, Texas, Arkema Chemical Plant.”
The Court’s Memorandum and Order appointed Class Counsel, and also appointed Corey Prantil,
Ronald Whatley, Betty Whatley, Bevely Flannel, Roland Flannel, Greg Nason, Larry Anderson,
and Tanya Anderson as class representatives.

        1.9.   Arkema Inc. filed a Petition for Permission to Appeal pursuant to Federal Rule of
Civil Procedure 23(f) on June 17, 2019, which the United States Court of Appeals for the Fifth
Circuit granted on October 17, 2019.

        1.10. On January 22, 2021, the United States Court of Appeals for the Fifth Circuit issued
its order vacating the Court’s June 3, 2019, Memorandum and Order, and remanding the Litigation
to this Court for further proceedings.

      1.11. On August 2, 2021, Plaintiffs filed a Suggestion of Death for Ronald Whatley.
Ronald Whatley’s claims are subject to the Release in Section VII below because he was a class
member.

       1.12. On August 12, 2021, the Court permitted Class Counsel to withdraw from
representing Greg Nason. While the Court did not subsequently enter an order dismissing Greg
Nason’s claims, they are subject to the Release in Section VII below because Greg Nason is a
Class Member.

        1.13. On November 23, 2021, Plaintiffs filed a renewed Motion for Class Certification,
seeking to certify a class for property damage under Federal Rule of Civil Procedure 23(b)(3) and
classes for property remediation and medical surveillance under Federal Rule of Civil Procedure
23(b)(2), with Corey Prantil, Betty Whatley, Bevely Flannel, Roland Flannel, Larry Anderson, and
Tanya Anderson as proposed class representatives. Class Counsel did not seek to appoint Ronald
Whatley as a class representative.

        1.14. The Court issued its Memorandum and Order on May 18, 2022, granting Plaintiffs’
Motion for Class Certification, in part, certifying classes for property remediation and medical
surveillance under Federal Rule of Civil Procedure 23(b)(2) pursuant to the Resource Conservation
and Recovery Act and the Comprehensive Environmental Response, Compensation, and Liability
Act, defined as “All residents and real property owners located within a 7-mile radius of the
Crosby, Texas, Arkema Chemical Plant,” and denying Plaintiffs’ request to certify a property
damages class under Federal Rule of Civil Procedure 23(b)(3). The Court’s Memorandum and
Order appointed Class Counsel and Corey Prantil, Betty Whatley, Bevely Flannel, Roland Flannel,
Larry Anderson, and Tanya Anderson as the Class Representatives. Bret and Phyllis Simmons



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were not put forward as proposed class representatives in Plaintiffs’ November 23, 2021, renewed
Motion for Class Certification, but the Plaintiffs will file an Unopposed Motion to Amend the
Court’s Class Certification Order to add Bret and Phyllis Simmons as Class Representatives.

        1.15. Arkema Inc. filed a Petition for Permission to Appeal pursuant to Federal Rule of
Civil Procedure 23(f) on June 1, 2022, which the United States Court of Appeals for the Fifth
Circuit denied on July 20, 2022.

        1.16. Class Counsel and Defendant’s Counsel have conducted a thorough examination
and investigation of the facts and law relating to the matters in the Litigation. Such investigation
and discovery included requesting and receiving written discovery responses, examining hundreds
of thousands of pages of Defendant’s documents, retaining 20+ expert witnesses and reviewing
their expert reports, conducting more than 30 depositions, participating in days of hearings on the
admissibility of expert testimony, and conducting two full class certification proceedings in the
matter, including two full rounds of briefing and two lengthy hearings.

        1.17. Class Counsel and Defendant’s Counsel also participated in multiple efforts to
resolve the Litigation. Throughout 2021, the Parties made multiple attempts to resolve the matter
in mediation, which were unsuccessful. On September 7, 2022, all Parties participated in
mediation with the Honorable Dena Palermo and subsequently had follow-up conversations to
advance the mediation. On October 26, 2022, and May 25, 2023, the parties further discussed
resolution with Judge Palermo. As a result of these efforts, the parties have reached the settlement
memorialized in this Agreement. This Agreement is the result of extensive arm’s-length
negotiations conducted in good faith by counsel for the Parties. The Parties did not discuss or
negotiate Attorneys’ Fees until after the Parties had already agreed upon relief for the Class.

         1.18. Defendant denies all of Plaintiffs’ Allegations and charges of wrongdoing or
liability against Defendant arising out of any of the conduct, statements, acts or omissions alleged,
or that could have been alleged, in the Litigation. Defendant also denies that Plaintiffs, the Class,
or any Class Member, has suffered damage or harm by reason of any alleged conduct, statement,
act or omission of Defendant. Defendant further denies that the evidence is sufficient to support a
finding of liability on any of Plaintiffs’ claims in the Litigation or to maintain a proper class.

         1.19. Class Counsel have analyzed and evaluated the merits of the Parties’ contentions
and this Settlement as it impacts all the Parties and the Class Members. Among the risks of
continued litigation for Plaintiffs are the risks of failing to prove liability and damages on a class-
wide or individual basis and the possibility that the Class could be decertified as a result of an
appeal from a final judgment. In particular, there may be difficulties establishing, on a class-wide
basis, liability issues of exposure, injury, and causation, and establishing entitlement to relief under
the Resource Conservation and Recovery Act or the Comprehensive Environmental Response,
Compensation, and Liability Act such as would be necessary to obtain relief under these
environmental statutes, including an injunctive remedy on a class-wide basis. Plaintiffs and Class
Counsel, after taking into account the foregoing along with other risks and the costs of future
litigation, are satisfied that the terms and conditions of this Agreement are fair, reasonable, and
adequate, and that a settlement of the Litigation and the prompt provision of effective relief to the
Class are in the best interest of the Class Members.



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         1.20. Defendant agrees that the Settlement is fair and reasonable in light of the merits
and risks of the case. While continuing to deny all allegations of wrongdoing and disclaiming any
liability with respect to any and all claims, Defendant nevertheless has chosen to enter into this
Agreement in order to avoid further burden, expense, uncertainty, inconvenience, and interference
with its ongoing business operations attendant to defending the Litigation and putting to rest the
Released Claims.

         1.21. This Agreement reflects a compromise between the Parties, and shall in no event
be construed as or deemed to be an admission or concession by any Party of the truth of any
allegation or the validity of any purported claim or defense asserted in any of the pleadings in the
Litigation, or of any fault on the part of Defendant, and all such Allegations are expressly denied.
Nothing in this Agreement shall constitute an admission of liability or be used as evidence of
liability, by or against any Party. This Agreement is the result of compromise that benefits the
Class as a whole. The provisions hereof do not constitute an admission of fault or an endorsement
of any testing or remediation standards referred to therein. The Parties continue to dispute the
validity of the other’s positions, including without limitation on: any application of the Texas
Commission for Environmental Quality’s standards for dioxin remediation; the availability of the
relief sought under either the Resource Conservation and Recovery Act or Comprehensive
Environmental Response, Compensation, and Liability Act; and proof of exposure, injury,
causation, or damages.

      1.22. The undersigned Parties agree, subject to approval by the Court, that the Litigation
between Plaintiffs, on the one hand, and Defendant, on the other hand, shall be fully and finally
compromised, settled, and released on the terms and conditions set forth in this Agreement.

        NOW, THEREFORE, in consideration of the covenants and agreements set forth herein,
and of the releases and dismissal of claims described below, the Parties agree to this Settlement,
subject to Court approval, under the following terms and conditions.

II.      DEFINITIONS

         A.    Capitalized terms in this Agreement shall be defined as follows:

              2.1.    “Administration Costs” means the actual and direct costs reasonably
charged by the Settlement Administrator for its services as provided for in this Agreement.

              2.2.    “Agreement,” “Settlement Agreement,” or “Settlement” means this Class
Action Settlement Agreement, including all exhibits (numbered 1 through 5), which exhibits are
incorporated by reference and form a part of this Agreement.

                2.3.    “Allegations” means all of the allegations asserted in each of the complaints
filed in the Litigation, on October 3, 2017, December 18, 2017, and June 19, 2018, as well as
claims that could be pursued under the laws of the United States or any state on the basis of one
or more of those allegations.

              2.4.    “Anonymized Epidemiological            Study”    means      the   anonymized
epidemiological study described in Section 3.4, below.



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               2.5.   “Anonymized Epidemiological Study Escrow Account” means the escrow
account used to fund the Anonymized Epidemiological Study.

              2.6.    “Anonymized Epidemiological Study Fund” means the amount of the
Settlement Fund created to pay for the Anonymized Epidemiological Study.

              2.7.  “Attorneys’ Fees” means such funds as may be awarded by the Court at its
discretion to compensate Class Counsel, as described more particularly in Part V of this
Agreement.

                 2.8.    “Attorneys’ Expenses” means such funds as may be awarded by the Court
at its discretion to reimburse Class Counsel for their Expenses/Costs incurred in the Litigation.

               2.9.     “Class” or “Class Members” means all residents and real property owners
located within a 7-mile radius of the Crosby, Texas, Arkema Inc. Chemical Plant since August 30,
2017. Excluded from the class are (a) the Honorable Keith P. Ellison and the Honorable Dena
Palermo, any member of their staff who worked directly on this Litigation, and any member of
their immediate families; (b) counsel for the Parties, any member of their respective staff who
worked directly on this Litigation, and any member of their immediate families; (c) any
government entity; (d) any entity or real property in which Defendant has a controlling interest;
and (e) any of Defendant’s subsidiaries, parents, affiliates, and officers, directors, employees, legal
representatives, heirs, successors, or assigns.

              2.10. “Class Area” means all real property located within a 7-mile radius of the
fenceline boundary of the Crosby, Texas, Arkema Inc. Chemical Plant.

             2.11. “Class Counsel” means the law firms of Stag Liuzza LLC, Underwood Law
Offices, Thompson Barney, and Bonnett Fairbourn Friedman & Balint PC.

              2.12. “Class Notice” means all types of notice that will be provided to Class
Members pursuant to Federal Rule of Civil Procedure 23, the Preliminary Approval Order, the
Final Approval Order, and this Agreement.

                2.13. “Class Representatives” means Larry Anderson, Tanya Anderson, Bevely
Flannel, Roland Flannel, Corey Prantil, Betty Whatley, Bret Simmons, and Phyllis Simmons (each
individually a “Class Representative”).

               2.14.   “Court” means the United States District Court for the Southern District of
Texas.

               2.15.   “Defendant” means Arkema Inc.

               2.16. “Defendant’s Counsel” means the law firms of K&L Gates LLP,
Schirrmeister, Diaz-Arrastia, Brem LLP, Rusty Hardin & Associates, LLP, and Amandes PLLC.

                2.17. “Effective Date” means the latest of the following: (a) thirty-one (31) days
after the entry of the Final Approval Order and Final Judgment if no objections are filed or if
objections are filed and overruled and no appeal is taken from the Final Approval Order and Final


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Judgment; or (b) if a timely appeal is made, three (3) business days after the date that a judgment
of the United States Court of Appeals for the Fifth Circuit or Supreme Court of the United States
affirming the Final Approval Order and Final Judgment, and the Final Approval Order and Final
Judgment is no longer subject to further appeal or review.

            2.18. “Escrow Accounts” means the Property Characterization/Remediation
Escrow Account, the Anonymized Epidemiological Study Escrow Account, the Incentive Awards
Escrow Account, and the Expenses Escrow Account, collectively.

             2.19. “Expenses Escrow Account” means the account used to make payments for
any Expenses/Costs.

                2.20. “Expenses/Costs” means (i) costs incurred by Class Counsel in connection
with this Litigation and/or the settlement thereof, including prior to the execution of this Settlement
and, including without limitation, Plaintiffs’ sampling costs, expert fees and costs, travel, board,
and lodging, doctors’ fees, costs of class notice, bank and accounting fees, and court costs;
(ii) costs for implementation and/or administration of any trusts or funds associated with the
Settlement Fund or (iii) any such or other costs that may be incurred in the future by Plaintiffs,
Class Counsel, and/or the Class in connection with the execution and implementation of this
Settlement.

               2.21. “Final Approval Hearing” means the final hearing to be conducted by the
Court on such date as the Court may order to determine the fairness, adequacy, and reasonableness
of the Settlement in accordance with applicable jurisprudence, to be held after Class Notice has
been provided to Class Members in accordance with the Notice Plan, and during which the Court
will: (a) consider the merits of any objections to this Agreement and/or any aspect of the
Settlement; (b) determine whether to grant Final Approval to the Settlement and enter the Final
Approval Order and Final Judgment; (c) determine whether to approve an Incentive Award and in
what amount; and (d) rule on Class Counsel’s application for Attorneys’ Fees and Expenses/Costs.

               2.22. “Final Approval” or “Final Approval Order” means an order, substantially
in the form of Exhibit 4, granting final approval of this Settlement (without modification unless
agreed upon by both Parties) as binding upon the Parties.

              2.23. “Final Judgment” means the final judgment dismissing the Litigation
against Defendant with prejudice.

                 2.24. “Incentive Award” means any funds that may be awarded by the Court at
its discretion to compensate any Class Representatives for their efforts in bringing this Litigation
and/or achieving the benefits of this Settlement on behalf of the Class, as further discussed in Part
V.

             2.25.     “Incentive Awards Escrow Account” means the account used to pay for any
Incentive Awards.

                2.26. “Litigation” means Shannan Wheeler, et al. v. Arkema Inc., United States
District Court for the Southern District of Texas, Case No. 4:17-2960-KPE.



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               2.27. “Long Form Notice” means a notice in substantially the same form as
Exhibit 3, which the Settlement Administrator shall make available on the Settlement Website.

               2.28. “Notice Date” means the day on which the Settlement Administrator
initiates the Notice Plan, which shall be no later than thirty (30) days following the date of
Preliminary Approval.

                2.29.   “Notice Plan” means the procedure for providing notice to the Class, as set
forth in Part IV.

              2.30. “Objection Deadline” means the deadline by which Class Members must
submit objections to the Settlement, subject to the terms set forth in the Preliminary Approval
Order, which is the date sixty (60) days after the Notice Date or such date otherwise ordered by
the Court.

               2.31.    “Parties” means the Class Representatives and Defendant, collectively.

               2.32.    “Party” means either the Class Representatives or Defendant.

                2.33. “Plaintiffs” means Larry Anderson, Tanya Anderson, Bevely Flannel,
Roland Flannel, Corey Prantil, Betty Whatley, Bret Simmons, and Phyllis Simmons (each
individually a “Plaintiff”).

               2.34.    “Postcard Notice” means a notice substantially in the form of Exhibit 2.

               2.35. “Preliminary Approval” or “Preliminary Approval Order” means an order
entered by the Court, substantially in the form of Exhibit 1, preliminarily approving the terms and
conditions of this Agreement without modification unless agreed to by both Parties.

             2.36. “Property Characterization Participation Payments” shall mean the
payments described in Section 3.3.g, below.

             2.37. “Property Characterization/Remediation Escrow Account” means the
escrow account used to fund the Property Characterization and Remediation Work.

               2.38. “Property Characterization/Remediation Fund” means the amount of the
Settlement Fund to perform the Property Characterization and Remediation Work, including any
Property Characterization Participation Payments, Property Remediation Participation Payments,
and costs of the Settlement Administrator for completing the performance of the Property
Characterization and Remediation Work as approved by the Court.

               2.39. “Property Characterization and Remediation Work” means that work
described in Section 3.3 below.

               2.40. “Property Remediation Participation Payments” shall mean the payments
described in Section 3.3.h, below.




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               2.41.   “Released Claims” means the claims released as set forth in Part VII of this
Agreement.

                 2.42. “Released Parties” include Defendant and its current and former parent
companies, subsidiaries, affiliates, divisions, and current and former affiliated individuals and
entities, legal successors, predecessors (including companies they have acquired, purchased, or
absorbed), assigns, joint ventures, and each and all of their respective officers, partners, directors,
owners, stockholders, servants, agents, shareholders, members, managers, principals, investment
advisors, consultants, employees, representatives, attorneys, accountants, lenders, underwriters,
benefits administrators, investors, funds, and insurers, past, present and future, and all persons
acting under, by, through, or in concert with any of them.

               2.43. “Settlement Administrator” means Edgar C. Gentle, III, an independent
individual, whom the Parties will ask the Court to appoint, to provide services in the administration
of this Settlement, including (i) providing Class Notice to the Class Members pursuant to the
Notice Plan set forth in this Agreement, (ii) administering the Property
Characterization/Remediation Fund as set forth in this Agreement, (iii) funding the Anonymized
Epidemiological Survey Fund as set forth in this Agreement, and (iv) processing other documents
and performing other tasks as set forth in this Agreement, as otherwise agreed to by the Parties, or
as ordered by the Court with the express, written consent of the Parties.

               2.44.   “Settlement Fund” shall mean the monies described in Section 3.1 below.

               2.45. “Settlement Website” means an internet website created and maintained by
the Settlement Administrator consistent with the entry of the Preliminary Approval Order to
provide information regarding the Settlement, Settlement Funds, and where Class Members can
obtain information concerning objecting to the Settlement. The URL of the Settlement Website
shall be: crosbyharveysettlement.com.

             2.46. “Unused Funds” means any Settlement Fund amounts remaining in any of
the Escrow Accounts after completion of the work and/or purpose described for those Escrow
Accounts.

        B.      Conventions. All personal pronouns used in this Agreement, whether used in the
masculine, feminine, or neuter gender, shall include all other genders and the singular shall include
the plural and vice versa except where expressly provided to the contrary. All references herein
to sections, paragraphs, and exhibits refer to sections, paragraphs, and exhibits of and to this
Agreement, unless otherwise expressly stated in the reference. The headings and captions
contained in this Agreement are inserted only as a matter of convenience and in no way define,
limit, extend or describe the scope of this Agreement or the intent of any provision thereof.

III.   SETTLEMENT FUNDS

       3.1.   Payment of Cash Settlement Amounts into Escrow Account. On the Effective Date,
Defendant shall make a payment in the amount of Twenty Four Million Dollars ($24,000,000.00)
(the “Settlement Fund”) into a single escrow account, which shall be directed by the Settlement
Administrator into four escrow accounts as follows:



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               (a)  Twenty Million One Hundred Thousand Dollars ($20,100,000.00) into the
Property Characterization/Remediation Escrow Account to create the Property
Characterization/Remediation Fund;

            (b)   One Million Seven Hundred Thousand Dollars ($1,700,000.00) into the
Anonymized Epidemiological Study Escrow Account to create the Anonymized Epidemiological
Study Fund;

            (c)     Two Hundred Thousand Dollars ($200,000.00) into the Incentive Awards
Escrow Account; and

               (d)     Two Million Dollars ($2,000,000.00) into the Expenses Escrow Account.

       3.2.   The Escrow Accounts will be at an institution jointly agreed to by Class Counsel
and the Settlement Administrator and under terms acceptable to both Class Counsel and the
Settlement Administrator. Any fees incurred on account of paying the Settlement Fund into the
Escrow Accounts shall be considered Administration Costs and paid out of the Escrow Expenses
Account.

        3.3.   Property Characterization and Remediation Fund.                  The Property
Characterization/Remediation Fund shall be used exclusively to perform the Property
Characterization and Remediation Work, which includes any Property Characterization
Participation Payments, Property Remediation Participation Payments, and costs of the Settlement
Administrator for completing the performance of the Property Characterization and Remediation
Work as approved by the Court. The Property Characterization and Remediation Work shall be
performed for the benefit of the Class, and shall occur exclusively pursuant to the following
parameters:

               (a)    All Property Characterization and Remediation Work shall be performed by
one or more environmental firms with offices located in Texas that are qualified to perform the
work in accordance with generally accepted industry standards. The Settlement Administrator
shall select and engage such contractors from the list of firms included as Exhibit 5, which has
been jointly approved by the Parties (the “Contractors”).

                 (b)     During the one-year period following the Effective Date, all Class Members
are eligible for site assessment and characterization for any real property that they own within the
Class Area. The collection and analysis of soil or indoor dust samples shall be performed on a
first-come, first-served basis.

               (c)    The Contractors shall analyze any collected soil or indoor dust samples only
for dioxin compounds (as 2,3,7,8-TCDD toxicity equivalent quotients (“TEQs”)). None of the
Property Characterization/Remediation Fund may be used to analyze for or remediate any other
“chemicals of concern,” as that term is defined in 30 Tex. Admin. Code § 350.4(a)(11).

              (d)     Any real property where concentrations of dioxin in soil samples exceed the
Texas Commission on Environmental Quality’s (“TCEQ’s”) Tier 1 Residential TotSoilComb
Protective Concentration Level (PCL) in effect on the Effective Date (“the TCEQ Dioxin
Standard”) shall be eligible for remediation of the portions of the real property exceeding the


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TCEQ Dioxin Standard, subject to the consent of the Class Member who owns the real property.
The Contractors engaged by the Settlement Administrator may elect to, but are not required to,
prepare an Affected Property Assessment Report under TCEQ’s Texas Risk Reduction Plan
(“TRRP”) for any real properties where concentrations of dioxin in soil samples exceed the TCEQ
Dioxin Standard throughout the duration of the Property Characterization and Remediation Work.

                 (e)    After the one-year site assessment and characterization period has
concluded and any real property in the Class Area exceeding the TCEQ Dioxin Standard has been
remediated as set forth in Section 3.3.d above, the Settlement Administrator shall have the
discretion to direct the Contractors to conduct, subject to the real property owner’s request and
consent, any or all of the following additional activities at any real property within the Class Area
based on whatever ranking or priority criteria the Settlement Administrator develops, until the
Property Characterization/Remediation Fund has been depleted: (1) remediate dioxin
contamination in soil on properties that were subjected to site assessment and characterization
during that one-year period where concentrations of dioxin in soil samples did not exceed the
TCEQ Dioxin Standard; (2) remediate dioxin contamination in indoor dust; and (3) reopen the
eligibility for Class Members to have site assessment and characterization for dioxin compounds
performed on soil and indoor dust at their real property within the Class Area.

                (f)    For any remediated properties, any excavated soils or other remediation
wastes generated at any time during the Property Characterization and Remediation Work will be
disposed of: (1) in compliance with all applicable federal and state requirements; and (2) at a site
or sites that Defendant approves.

               (g)     Any Class Member(s) who are current real property owners and whose real
property is characterized shall be entitled to a single Property Characterization Participation
Payment in the total sum of $150 per characterized property, except in no event shall the
cumulative total Property Characterization Participation Payments to all Class Members exceed
$150,000. For the avoidance of doubt, if and when the Settlement Administrator has issued
$150,000 in Property Characterization Participation Payments, no additional Property
Characterization Participation Payments shall be made.

               (h)    Any Class Member(s) who are current real property owners and whose real
property is remediated shall be entitled to a single Property Remediation Participation Payment in
the total sum of $300 per remediated property, except in no event shall the cumulative total of
Property Remediation Participation Payments to all Class Members exceed $300,000. For the
avoidance of doubt, if and when the Settlement Administrator has issued $300,000 in Property
Remediation Participation Payments, no additional Property Remediation Participation Payments
shall be made.

               (i)     The Settlement Administrator shall at most issue only one Property
Characterization Participation Payment and one Property Remediation Participation Payment per
parcel within the Class Area. In the event that a parcel within the Class Area is owned by more
than one Class Member, the Settlement Administrator shall have the discretion to split the one
Property Characterization Participation Payment and/or the one Property Remediation
Participation Payment between the parcel owners in whatever proportions he sees fit, with
consideration given to publicly available ownership records.


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               (j)     The Property Characterization and Remediation Work shall be completed
within four years of the Effective Date, subject to the Settlement Administrator’s right to petition
the Court for an extension of time for good cause shown.

             (k)     The Settlement Administrator will promptly provide Class Counsel and
Defendant’s Counsel a copy of any documents generated as part of the Property Characterization
and Remediation Work or its administration as a matter of course.

             (l)     In administering the Property Characterization and Remediation Work, the
Settlement Administrator may review any portion of the evidentiary record developed in the
Litigation.

               (m)     In administering the Property Characterization and Remediation Work, the
Settlement Administrator may communicate directly with Class Members in order to effectuate
the purposes of this Settlement.

       3.4.  Anonymized Epidemiological Study Fund. The Anonymized Epidemiological
Study Fund shall be used exclusively to perform the Anonymized Epidemiological Study. The
Anonymized Epidemiological Study shall be performed for the benefit of the Class. The
Anonymized Epidemiological Study shall be conducted exclusively as follows:

              (a)      Baylor College of Medicine, if it accepts the engagement, shall exclusively
design, administer, and conduct an epidemiological study, with no further input or involvement of
Class Counsel, Defendant’s Counsel, or the Settlement Administrator, with the following purpose
statement:

               The proposed research includes identifying an appropriate study
               population and characterizing dioxin and dioxin-like exposures
               from the Arkema Inc. Plant chemical fires during early September
               2017. These fires occurred when organic peroxides stored in
               refrigerated trailers decomposed. The exposure characterization
               may rely on results from soil sampling for dioxins and dioxin-like
               substances of residents and property owners residing within a 7-mile
               radius of the Arkema Inc., Crosby facility. This soil sampling will
               identify geographic areas (e.g., at least three zones of areas with
               higher exposure and lower exposure). These geographic areas can
               then be used to compare health incidence outcomes by exposure
               gradient. Because the presumptive latency period for cancers
               following exposure is at least 20 years (and may be longer), the
               research will establish a study population that could be followed for
               site-specific cancers or chronic respiratory disorders in the future.
               Cancer outcomes will be ascertained using cancer registry data for
               cancer incidence in Texas to identify whether the risk of incident
               site-specific cancers increases with exposure. Similarly, the
               incidence of chronic respiratory disorders will be ascertained based
               on diagnoses by doctors to identify whether the risk of respiratory
               disorders increases with exposure gradient. As part of this research,


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               the investigators should consider potential confounding factors and
               exposures, including additional sources of exposure to dioxins and
               dioxin-like compounds. This research may also build on research
               previously conducted by Baylor College of Medicine on the mental
               health and respiratory and allergic symptoms following Hurricane
               Harvey.

               (b)     If Baylor College of Medicine declines the engagement to perform the work
described in Section 3.4.a, above, the University of Texas-Houston School of Public Health will
be contacted for the engagement to perform such work.

               (c)    If the University of Texas-Houston School of Public Health declines the
engagement to perform the work described in Section 3.4.a, above, Texas A&M University School
of Public Health (College Station) will be contacted for the engagement to perform such work.

               (d)     If none of those three institutions (Baylor College of Medicine, University
of Texas-Houston School of Public Health, and Texas A&M University School of Public Health
(College Station)) agree to the engagement to perform the work described in Section 3.4.a, above,
the Parties will confer and reach agreement on an alternative, Texas-based institution that is
qualified to, capable of, and willing to perform such work, subject to approval by the Court.
Should the Parties be unable to reach such agreement, they will submit the dispute to non-binding
mediation before Judge Palermo.

               (e)    The Settlement Administrator’s role with respect to the Anonymized
Epidemiological Study shall be limited to funding the Anonymized Epidemiological Settlement
Fund once the Settlement Fund is paid and providing soil-sampling results to the institution
performing the Anonymized Epidemiological Study, upon request. The Settlement Administrator
shall not use any of the anonymized epidemiological study results in his administration of the
Property Characterization and Remediation Fund or for any other purpose.

                (f)    The Anonymized Epidemiological Study must include a clause specifying
that neither Party is deemed to have accepted or endorsed the results of the study and that such
study is not to be used in future litigation.

       3.5.    Use of Funds in the Escrow Accounts.

                (a)      The funds in each of the Escrow Accounts shall be used exclusively for the
performance or payment of the work described therein, and for no other purpose, except as
provided for under Section 3.5(e). For the avoidance of doubt: (i) the amount of the Settlement
Fund in the Property Characterization/Remediation Escrow Account must be used exclusively for
the performance of the Property Characterization and Remediation Work and for no other purpose;
(ii) the amount of the Settlement Fund in the Anonymized Epidemiological Study Escrow Account
must be used exclusively for the performance of the Anonymized Epidemiological Study and for
no other purpose; (iii) the amount of the Settlement Fund in the Incentive Awards Escrow Account
must be used exclusively for the payment of any Incentive Awards awarded by the Court and for
no other purpose; and (iv) the amount of the Settlement Fund in the Expenses Escrow Account




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must be used exclusively for the payment of Expenses/Costs as approved by the Court and for no
other purpose.

               (b)     Expenses/Costs for implementation and/or administration of any trusts or
funds associated with the Settlement Fund shall be paid from the Expenses Escrow Account, as
approved by the Court. Additional Expenses/Costs related to the Settlement are expected to be
incurred in the future and, if approved by the Court, will be paid through the Expenses Escrow
Account.

              (c)     Should the Court approve Attorneys’ Expenses in an amount less than Class
Counsel requests, such a decision shall not constitute grounds for modification or termination of
this Agreement, including the Settlement and releases provided for herein.

              (d)     Should the Court approve an Incentive Award in an amount less than Class
Counsel requests, such a decision shall not constitute grounds for modification or termination of
this Agreement, including the Settlement and releases provided for herein.

                (e)     Any Unused Funds shall be paid cy pres through equal distributions to each
of the following organizations: Houston Wilderness, Buffalo Bayou Partnership, Coastal Prairie
Conservancy, Galveston Bay Foundation, and Armand Bayou Nature Center. If any of these
organizations are no longer in existence as of the time of any such intended distribution, the
Unused Funds shall be distributed equally amongst those identified that are still existing. No
Unused Funds will revert to Defendant or be distributed to the Class. The Parties agree that,
following the completion of the Property Characterization and Remediation Work and the
Anonymized Epidemiological Study, cy pres distribution is appropriate because any Class
Members who did not receive site characterization or remediation or participate in the Anonymized
Epidemiological Study chose not to participate in the Settlement, and the Class’s claims are fully
satisfied by the Settlement.

IV.    CLASS NOTICE AND SETTLEMENT ADMINISTRATION

        4.1.   Subject to Court approval, the Parties have agreed that the manner for providing
Class Notice to the Class Members described herein is the best and most fair and reasonable notice
practicable under the circumstances.

       4.2.    The Parties agree to the following Notice Plan:

                 (a)     No later than the Notice Date, the Settlement Administrator shall send a
copy of the Postcard Notice via First Class U.S. Mail to those Class Members for whom a physical
mailing address is available in publicly available parcel data from the Harris County Appraisal
District and Chambers County Appraisal District, and that is available commercially from
Download Texas GIS Data for Liberty County. The Settlement Administrator shall use the
national change of address database or other appropriate skip-tracing service that includes national
change of address data to update the mailing list of the Class Members for whom a mailing address
is available, prior to sending Postcard Notice.

              (b)     Any mailed Postcard Notices returned to the Settlement Administrator as
undelivered and bearing a forwarding address shall be re-mailed by the Settlement Administrator


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within five (5) business days following receipt of the returned mail. If no forwarding address is
available, and a skip trace has not previously been performed on the Class Member, the Settlement
Administrator shall perform a single skip trace using an industry-accepted source, to conduct an
address update and send the Postcard Notices to the mailing addresses identified by the skip
tracing.

               (c)     No later than the Notice Date, the Settlement Administrator also shall
launch the Settlement Website to provide information to Class Members. The Settlement Website
shall contain the Notice in both downloadable PDF format and HTML format with a clickable
table of contents; answers to frequently asked questions; a Contact Information page that includes
the address for the Settlement Administrator and addresses and telephone numbers for Class
Counsel; the Agreement; the Preliminary Approval Order; and (when it becomes available) Class
Counsel’s application for Attorneys’ Fees, Attorneys’ Expenses, and Incentive Awards. The
Settlement Website shall remain accessible until ninety (90) days after all of the Settlement Funds
have been exhausted or distributed cy pres as set forth in Section 3.5.e, above.

                (d)    CAFA Notice. Within ten (10) days of entry of the Preliminary Approval
Order, the Settlement Administrator shall serve notice of this Settlement to appropriate state and
federal officials pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715. Defendant shall be
responsible for drafting and preparing the notice in conformity with 28 U.S.C. § 1715 and for
identifying the appropriate state and federal officials, if any, to be notified.

        4.3.   The Settlement Administrator shall provide any information or declaration
requested by the Parties to assist with seeking Preliminary Approval and/or Final Approval, and
shall appear at the Preliminary Approval hearing and/or Final Approval Hearing if requested by
the Parties.

        4.4.   The Parties each represent that they do not and will not have any financial interest
in the Settlement Administrator ultimately appointed and otherwise will not have a relationship
with the Settlement Administrator ultimately appointed that could create a conflict of interest.

        4.5.   The Parties acknowledge and agree that the Settlement Administrator is not an
agent of the Class Representatives, Class Counsel, Defendant, or Defendant’s Counsel, and that
the Settlement Administrator is not authorized by this Agreement or otherwise to act on behalf of
the Class Representatives, Class Counsel, Defendant, or Defendant’s Counsel.

       4.6.    The Parties shall have the right, but not the obligation, to audit the Property
Characterization and Remediation Work and any other work carried out by the Settlement
Administrator.

       4.7.     If a Class Member requests that the Settlement Administrator and/or his agent or
employee refer him/her/it to Class Counsel, or if a Class Member requests advice beyond merely
ministerial information regarding applicable deadlines or procedures related to the Settlement for
which the Settlement Administrator does not have an approved response, then the Settlement
Administrator and/or his agent or employee shall promptly refer the inquiry to Class Counsel.

       4.8.    The Parties shall supervise the Settlement Administrator in the performance of the
Notice Plan.


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       4.9.   At the time the Parties apply for Preliminary Approval, the Settlement
Administrator shall provide a declaration to the Court to support the Parties’ request for
appointment of the Settlement Administrator.

       4.10. At least sixty (60) days prior to the Final Approval Hearing, the Settlement
Administrator shall certify to the Court that he has complied with the Notice Plan and notice
requirements set forth herein.

      4.11. The costs of Notice as set forth in this Part and all costs of the Settlement
Administrator shall be paid out of the Settlement Fund––specifically, the Expenses Escrow
Account.

        4.12. Upon completion of the implementation and administration of the Settlement, the
Settlement Administrator shall provide a declaration to the Parties for filing with the Court, subject
to the Parties’ review and approval, containing an accounting of the Settlement Fund and the
amount of the Settlement Fund, if any, to be distributed cy pres. Fourteen (14) days following the
filing of the accounting declaration with the Court, the Settlement Administrator shall distribute
any Unused Funds, if any, cy pres, consistent with this Agreement and any order of the Court
consistent with this Agreement.

V.      ATTORNEYS’ FEES AND INCENTIVE AWARDS

        5.1.  Class Counsel may make an application to the Court for an award of Attorneys’
Fees as compensation for the time and effort undertaken in this Litigation, but agree that the
Attorneys’ Fees shall not exceed Eight Million Five Hundred Thousand Dollars ($8,500,000.00).
The Attorneys’ Fees request shall be for all claims for Attorneys’ Fees, past, present, and future
incurred in connection with the Litigation or this Agreement, and Class Counsel shall not be
permitted to make a second application to the Court for an award of Attorneys’ Fees. Any
Attorneys’ Fees approved by the Court that do not exceed $8,500,000.00 shall be paid to Class
Counsel by Defendant on the Effective Date. Class Counsel has no right to payment of Attorneys’
Fees in an amount exceeding $8,500,000.00. No Attorneys’ Fees shall be paid from the Settlement
Fund, and no Attorneys’ Fees shall take away from or otherwise reduce the relief available to the
Class.

       5.2.     Class Counsel may make an application to the Court for an award of Attorneys’
Expenses. The Attorneys’ Expenses request shall be for all claims for Attorneys’ Expenses, past,
present, and future incurred in connection with the Litigation or this Agreement, and Class Counsel
shall not be permitted to make a second application to the Court for an award of Attorneys’
Expenses. Any Attorneys’ Expenses approved by the Court shall be paid from the Settlement
Fund, specifically, the Expenses Escrow Account, on the Effective Date.

       5.3.    Defendant covenants and agrees on behalf of itself and the Released Parties that,
provided that Class Counsel’s application for Attorneys’ Fees and Attorneys’ Expenses is
consistent with Sections 5.1 and 5.2, above, it and the Released Parties shall not (a) oppose or
submit any evidence or argument challenging Class Counsel’s application for Attorneys’ Fees and
Attorneys’ Expenses; (b) encourage or assist any person to oppose or submit any evidence or
argument challenging Class Counsel’s application for Attorneys’ Fees and Attorneys’ Expenses;



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or (c) encourage or assist any person to appeal from an order awarding Attorneys’ Fees or
Attorneys’ Expenses.

        5.4.     Payment of any Attorneys’ Fees approved by the Court to Class Counsel and the
funding of the Expenses Escrow Account shall constitute full satisfaction by Defendant of any
claim to pay any amounts to any person, attorney, or law firm for attorneys’ fees, expenses, or
costs in the Litigation incurred by any attorney on behalf of Plaintiffs or the Class, and shall relieve
Defendant and Defendant’s Counsel of any other claims or liability to any other attorney or law
firm for any attorneys’ fees, expenses, and/or costs to which any of them may claim to be entitled
on behalf of Plaintiffs or the Class, or as the result of this Litigation or Agreement.

        5.5.     Class Counsel may make an application to the Court for an Incentive Award in a
collective amount not to exceed a total of Two Hundred Thousand Dollars ($200,000), as
compensation for the Class Representatives’ time and effort undertaken in this Litigation pursuing
the interests of the Class for nearly six years. The Incentive Award request shall be for all Incentive
Awards, past, present, and future, that the Class Representatives and Class Counsel claim to be
proper in connection with the Litigation or this Agreement, and Class Counsel shall not be
permitted to make a second application to the Court for an Incentive Award. Any Incentive Award
approved by the Court shall be paid from the Settlement Fund, specifically, the Incentive Awards
Escrow Account, on the Effective Date.

        5.6.   Defendant covenants and agrees on behalf of itself and the Released Parties that,
provided Class Counsel’s application for an Incentive Award is consistent with Section 5.5, above,
it and the Released Parties shall not (a) oppose or submit any evidence or argument challenging
Class Counsel’s application for an Incentive Award; (b) encourage or assist any person to oppose
or submit any evidence or argument challenging Class Counsel’s application for an Incentive
Award; or (c) encourage or assist any person to appeal from an order making an Incentive Award.

       5.7.   An Incentive Award consistent with Section 5.5, above, shall be the total obligation
of Defendant to pay money to Plaintiffs in connection with the Litigation and this Settlement.

      5.8.     Class Counsel and the Class Representatives agree that the denial of, reduction, or
downward modification of, or failure to grant any application for Attorneys’ Fees, Attorneys’
Expenses, or Incentive Award shall not constitute grounds for modification or termination of this
Agreement, including the Settlement and releases provided for herein.

        5.9.   Except as set forth in this Agreement, each Party shall bear his or its own fees,
costs, and expenses.

VI.    CLASS SETTLEMENT PROCEDURES

        6.1.    Preliminary Approval. As soon as practicable after the signing of this Agreement,
Plaintiffs shall move, without opposition from the Defendant, solely for purposes of this
Settlement, for a Preliminary Approval Order, substantially in the form of Exhibit 1. The Parties
shall seek with the Court to schedule a Final Approval Hearing to occur approximately one
hundred thirty (130) days after the Preliminary Approval.




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       6.2.    Objections. The Preliminary Approval Order and Class Notice shall advise
prospective Class Members of their rights to object to this Settlement individually or through
counsel and to appear at the Final Approval Hearing.

        6.3.   Class Members who wish to object to the fairness, reasonableness, or adequacy of
the Settlement or this Agreement, any request for Attorneys’ Fees or Attorneys’ Expenses, or any
request for an Incentive Award shall submit a written notice of objection in accordance with the
following procedures:

               (a)    Class Members who wish to object must submit a written statement of
objection to the Clerk of Court, United States District Court for the Southern District of Texas,
515 Rusk Avenue, Houston, TX 77002, postmarked or filed via the Court’s electronic filing system
(ECF), on or before the Objection Deadline.

                (b)      To be valid, an objection must include: (a) a reference to this case, Shannan
Wheeler, et al. v. Arkema Inc., Case No. 4:17-2960-KPE (S.D. Tex), and the name of the presiding
Judge, the Hon. Keith P. Ellison; (b) the name, address, telephone number, and, if available, the
email address of the Class Member objecting, and if represented by counsel, their counsel’s name,
address, telephone number, email, and bar number; (c) a written statement of all grounds for the
objection, accompanied by any legal support for such objection; (d) a statement of whether they
intend to appear at the Final Approval Hearing, either with or without counsel; (e) a statement of
their membership in the Class; (f) a detailed list of any other objections submitted by the Class
Member, or their counsel, to any class actions submitted in any court, whether state or otherwise,
in the United States in the previous five (5) years; and (g) the Class Member’s signature, even if
the objection is submitted through counsel. If the Class Member or their counsel has not objected
to any other class action settlement in any court in the United States in the previous five (5) years,
they shall affirmatively state so in the written materials provided in connection with the objection
to this Settlement. This information is material to the Court’s consideration of the Settlement;
failure to include this information and documentation may be grounds for overruling and rejecting
the objection. Any Class Member who fails to timely submit a written objection prior to the
Objection Deadline shall be deemed to have waived their objections, and those objections will not
be considered by the Court.

                (c)     Any Class Member shall have the right to appear and be heard at the Final
Approval Hearing, either personally or through an attorney retained at the Class Member’s own
expense. However, if the Class Member wishes to object to the Settlement Agreement at the Final
Approval Hearing (either personally or through counsel), the Class Member must submit a timely
written objection in compliance with the requirements in this Agreement. In addition, to appear
in person or by counsel at the Final Approval Hearing, the objecting Class Member must include
in their objection a Notice of Intention to Appear. The Notice of Intention to Appear must include
copies of any papers, exhibits, or other evidence that the objecting Class Member (or their counsel)
will present to the Court in connection with the Final Approval Hearing. Any Class Member who
fails to submit a proper Notice of Intention to Appear will not be heard during the Final Approval
Hearing. Class Members do not need to appear at the Final Approval Hearing or take any other
action to indicate their approval of the Settlement Agreement.




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              (d)    Any Class Member who submits a written objection shall be bound by all
terms of the Settlement and the Final Approval Order and Final Judgment if the Settlement is
approved by the Court.

              (e)     Class Counsel shall serve on Defendant’s Counsel and file with the Court
any responses to written objections to the Settlement received within fifteen (15) days following
the Objection Deadline.

       6.4.    Final Approval and Judgment. After Preliminary Approval, Class Notice is
provided to the Class Members, and the expiration of the Objection Deadline, a Final Approval
Hearing shall be held on a date set by the Court. Class Counsel shall request that the Court enter
the Final Approval Order, substantially in the form of Exhibit 4.

       6.5.    Conditions Impacting Finality of Settlement.

                (a)     The Parties expressly agree that in the event of any of the following
conditions: (i) the Court does not preliminarily approve the Settlement; (ii) the Court does not
finally approve the Settlement; (iii) the Court does not enter the Final Approval Order and Final
Judgment; (iv) the Court makes any modification to the Settlement not agreed to by both Parties
(including by conditioning the Preliminary Approval Order or Final Approval Order on any change
not agreed to by both Parties)––except with respect to any rulings on Attorneys’ Fees, Attorneys’
Expenses, or Incentive Award; (v) the Preliminary Approval Order or Final Approval Order is
vacated, modified, or reversed, in whole or in part––except with respect to any rulings on any
Attorneys’ Fees, Attorneys’ Expenses, or Incentive Award; and/or (vi) this Settlement does not
become final for any reason; then this Agreement shall be null and void ab initio and any order
entered by the Court in furtherance of this Settlement shall be treated as withdrawn or vacated by
stipulation of the Parties, and Defendant shall have no further obligation under this Agreement.

              (b)      If any of the conditions outlined in Section 6.5.a, above, occur such that this
Settlement does not become final, the Parties shall proceed in all respects as if this Agreement had
not been executed; provided, however, that Class Counsel shall be responsible for the payment of
reasonable Administration Costs actually incurred for services already performed up to such time.
Notwithstanding the foregoing, the denial of, an appeal of, a modification of, or a reversal on
appeal of any Attorneys’ Fees, Attorneys’ Expenses, or Incentive Award shall not constitute
grounds for cancellation or termination of this Agreement.

               (c)    If Preliminary Approval of Final Approval is denied, the Parties
immediately shall be returned to their respective statuses as of the date immediately prior to the
execution of this Agreement.

        6.6.    Effect if Settlement Not Approved or Agreement is Terminated. This Agreement
is entered into only for purposes of settlement. In the event that Preliminary Approval or Final
Approval of this Agreement does not occur for any reason, including without limitation
termination of this Agreement pursuant to Section 6.5.a, or if Final Approval is reversed on appeal,
then no term or condition of this Agreement, or any draft thereof, or discussion, negotiation,
documentation, or other part or aspect of the Parties’ settlement discussions shall have any effect.
Nor shall any such matter be used or referred to for any purposes whatsoever in the Litigation, or



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in any other proceeding; the Litigation may continue as if the Settlement had not occurred; and the
Parties shall be returned to their pre-Settlement litigation posture. The Parties agree that all drafts,
discussions, negotiations, documentation, or other information prepared in relation to this
Agreement, and the Parties’ settlement discussions, shall be treated as strictly confidential and may
not, absent a court order, be disclosed to any person other than the Parties’ counsel, and only for
purposes of the Litigation.

VII.   RELEASES

        7.1.    Releases Regarding Class Representatives. Upon Final Approval, the Class
Representatives (for purposes of this Part VII, “Class Representatives” includes any Class
Representative and all other persons acting or purporting to act on their behalf, including but not
limited to his/her relatives, executors, heirs, successors, agents, and assigns) shall have
unconditionally, completely, and irrevocably released and forever discharged the Released Parties
from and shall be forever barred from instituting, maintaining, or prosecuting any and all claims,
liens, demands, actions, causes of action, rights, duties, obligations, damages, or liabilities of any
nature whatsoever, whether legal or equitable or otherwise, known or unknown, that actually were,
or could have been, asserted in the Litigation, whether based upon any violation of any state or
federal statute or common law or regulation or otherwise, that arise directly or indirectly out of, or
in any way relate to the Litigation or the Allegations.

         7.2.    Releases Regarding Class Members and Released Parties. Upon Final Approval,
Class Members other than the Class Representatives, and all other persons acting or purporting to
act on a Class Member’s behalf, including but not limited to the Class Member’s parent, child,
heir, guardian, associate, co-owner, attorney, agent, administrator, executor, devisee, predecessor,
successor, assignee, assigns, representative of any kind, shareholder, partner, director, employee
or affiliate, shall have unconditionally, completely, and irrevocably released and discharged the
Released Parties from any and all claims, liens, demands, actions, causes of action, rights, duties,
obligations, or liabilities, known or unknown, that arise directly or indirectly out of, or in any way
relate to the Litigation or the Allegations that (1) seek injunctive, declaratory, equitable, or other
non-monetary relief, of any nature whatsoever arising under any legal theory or claim whatsoever,
whether by common law, statute, or otherwise; (2) arise under the Resource Conservation and
Recovery Act or Comprehensive Environmental Response, Compensation, and Liability Act;
and/or (3) are brought in a representative or collective capacity, of any nature whatsoever arising
under any legal theory or claim whatsoever, whether by common law, statute, or otherwise, and
seeking any relief of any nature whatsoever. Upon Final Approval, Class Members shall be forever
barred from initiating, maintaining, or prosecuting any Released Claims against the Released
Parties.

        7.3.    Waiver of Provisions of California Civil Code Section 1542. The Class
Representatives shall, by operation of the Final Approval Order and Final Judgment, be deemed
to have waived the provisions, rights, and benefits of California Civil Code Section 1542, and any
similar law of any state or territory of the United States or principle of common law. In addition,
Class Members shall, by operation of Final Approval and Judgment, be deemed to have waived
the provisions, rights and benefits of California Civil Code Section 1542, and any similar law of
any state or territory of the United States or principle of common law, but only with respect to the
matters released as set forth in Section 7.2, above. California Civil Code Section 1542 provides:


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       A general release does not extend to claims that the creditor or releasing
       party does not know or suspect to exist in his or her favor at the time of
       executing the release and that, if known by him or her, would have
       materially affected his or her settlement with the debtor or released party.

The Class Representatives and Class Members shall, by operation of the Final Approval Order and
Final Judgment, be deemed to assume the risk that facts additional, different, or contrary to the
facts that each believes or understands to exist, may now exist, or may be discovered after the
release set forth in this Agreement becomes effective, and the Parties and Class Members shall, by
operation of the Final Approval Order and Final Judgment, be deemed to have agreed that any
such additional, different, or contrary facts shall in no way limit, waive, or reduce the foregoing
releases, which shall remain in full force and effect.

       7.4.    Dismissal of Keith Lyons and Greg Nason’s Non-Released Claims Without
Prejudice. Except for the claims released in Section 7.2 above, the claims of Keith Lyons and
Greg Nason set forth in Plaintiffs’ Second Amended Complaint shall be dismissed without
prejudice as part of the Final Judgment.

        7.5.    Effectuation of Settlement. None of the above releases include releases of claims
to enforce the terms of the Settlement provided for in this Agreement. This Agreement is the sole
and exclusive remedy for any and all Released Claims.

        7.6.   Covenant Not to Sue. Plaintiffs agree and covenant not to sue any Released Parties
with respect to any of the Released Claims set forth in Section 7.1, or otherwise to assist others in
doing so, and agree to be forever barred from doing so, in any court of law or equity, or any other
forum. Each Class Member will be deemed to have agreed and covenanted not to sue any Released
Parties with respect to any of the Released Claims as set forth in Section 7.2, and agree to be
forever barred from doing so, in any court of law or equity, or any other forum.

        7.7.   No Admission of Liability. This Agreement reflects, among other things, the
compromise and settlement of disputed claims among the Parties hereto, and neither this
Agreement nor the releases given herein, nor any consideration therefore, nor any actions taken to
carry out this Agreement are intended to be, nor may they be deemed or construed to be, an
admission or concession of liability, or the validity of any claim, or defense, or of any point of fact
or law (including but not limited to matters respecting class certification) on the part of any Party.
Defendant expressly denies the Allegations. Neither this Agreement, nor the fact of settlement,
nor the settlement proceedings, nor settlement negotiations, nor any related document, shall be
used as an admission of any fault or omission by the Released Parties, or be offered or received in
evidence as an admission, concession, presumption, or inference of any wrongdoing by the
Released Parties in any proceeding, except that this Agreement may be offered or received in
evidence in such proceedings as may be necessary to consummate, interpret, or enforce this
Agreement.

VIII. ADDITIONAL PROVISIONS

       8.1.  No Collateral Attack. This Agreement shall not be subject to collateral attack by
any Class Members or their representatives any time on or after the Effective Date. Prohibited



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collateral attacks shall include, but are not limited to, assertions that a Class Member’s claim
should have been heard or decided by another forum or that a Class Member’s claim was
improperly denied.

        8.2.    Non-Disparagement. The Parties, Class Counsel, and Defendant’s Counsel agree
that they will not make or cause to be made any statements that disparage Plaintiffs, Defendant or
its employees, or any of the other Released Parties. The Parties, Class Counsel, and Defendant’s
Counsel also agree that they will not encourage any person to disparage Plaintiffs, Defendant or
its employees, or any of the other Released Parties. Disparagement includes, but is not limited to,
statements made by an Internet posting or use of social media. Disparagement does not include
statements that recite or refer to the Allegations of the Lawsuit or terms of the Agreement. Nor
does it include any good-faith claim or allegation of a legal violation in the future.

        8.3.   Cooperation. All of the Parties, their successors and assigns, and their attorneys
agree to work reasonably and cooperatively in order to obtain Court approval of this Agreement
and to effectuate the Settlement, and to provide declarations to facilitate the Court’s Preliminary
Approval and Final Approval of the Settlement. The Parties further agree to cooperate in the
Settlement administration process and implementation of the Settlement and to make all
reasonable efforts to control and minimize the costs and expenses incurred in the administration
and implementation of the Settlement.

        8.4.   Change of Time Periods. The time periods and/or dates described in this
Agreement with respect to the giving of notices and hearings are subject to approval and change
by the Court or by the written agreement of Class Counsel and Defendant’s Counsel. For the
avoidance of doubt, any change to the time periods and/or dates described in this Agreement with
respect to the giving of notices and hearings is not a condition impacting finality of settlement
within the scope of Section 6.5(a).

        8.5.    Time for Compliance. If the date for performance of any act required by or under
this Agreement falls on a Saturday, Sunday, or court holiday, that act may be performed on the
next business day with the same effect as if it had been performed on the day or within the period
of time specified by or under this Agreement.

       8.6.    Governing Law. This Agreement is intended to and shall be governed by federal
law and the laws of the State of Texas, without regard to conflicts of law principles.

         8.7.     Entire Agreement. The terms and conditions set forth in this Agreement and its
exhibits constitute the complete and exclusive statement of the agreement between the Parties
hereto relating to the subject matter of this Agreement, superseding all previous negotiations and
understandings, and may not be contradicted by evidence of any prior or contemporaneous
agreement. The Parties further intend that this Agreement constitutes the complete and exclusive
statement of its terms as between the Parties, and that no extrinsic evidence whatsoever may be
introduced in any agency or judicial proceeding, if any, involving the interpretation of this
Agreement. In executing this Agreement, the Parties acknowledge that they have not relied upon
any oral or written understandings, negotiations, agreements, statements, or promises that are not
set forth in this Agreement. The Parties also acknowledge and agree that each has been represented
by their own counsel with respect to the negotiating and drafting of this Settlement and this


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Agreement. All exhibits to this Agreement as set forth herein are integrated herein and are to be
considered terms of this Agreement as if fully set forth herein.

        8.8.   Modifications. Any amendment or modification of the Agreement must be in
writing signed by all of the Parties to this Agreement or their counsel. The Parties agree that
nonmaterial amendments or modifications to this Agreement may be made in writing after
Preliminary Approval without the need to seek the Court’s approval. If the Court indicates, prior
to the Preliminary Approval or Final Approval, that the Settlement will not be approved unless
certain changes are made, the Parties will attempt in good faith to reach an agreement as to any
such changes prior to withdrawing from this Agreement. However, all modifications are at the
absolute discretion of the Parties. Further, if no such agreement can be reached within thirty (30)
days after the Court indicates that the Settlement will not be approved unless certain changes are
made, then the Class Representatives or Defendant may terminate and withdraw from this
Agreement, pursuant to Section 6.5(a). Notwithstanding the foregoing, the denial of, an appeal of,
a modification of, or a reversal on appeal of any Attorneys’ Fees, Attorneys’ Expenses, or Incentive
Award shall not constitute grounds for cancellation or termination of this Agreement. Without
further order of the Court, the Parties may agree in writing to reasonable extensions of time to
carry out any of the provisions of this Agreement or the Preliminary Approval Order. The Court
has no power to make any modification whatsoever to this Agreement without the express, written
consent of both Parties.

        8.9.    No Admissions. If this Agreement does not become effective or is cancelled,
withdrawn, or terminated for any reason, including as set forth in Section 6.5(a), it shall be deemed
a negotiation for settlement purposes only and will not be admissible in evidence or usable for any
purposes whatsoever in the Litigation or any proceedings between the Parties or in any other action
related to the Released Claims or otherwise involving the Parties or any Released Parties. Nothing
in this Agreement may be construed as, or may be used as, an admission by the Class
Representatives that any of their claims are without merit. Nothing in this Agreement may
constitute, may be construed as, or may be used as an admission by Defendant of any fault,
wrongdoing, or liability whatsoever, or that class certification is appropriate. Defendant continues
to affirmatively deny all liability and all of the claims, contentions, Released Claims, and each and
every allegation made by the Class Representatives in the Litigation.

         8.10. Advice of Counsel. The terms of this Agreement have been arrived at by mutual
agreement after extensive arm’s-length, bilateral negotiations, with consideration by and
participation of all Parties and their counsel. The presumption found in the law that uncertainties
in contracts are interpreted against the party that drafted the contract is hereby waived by all
Parties.

       8.11. No Tax Advice. Neither Class Counsel nor Defendant’s Counsel intends anything
contained herein to constitute legal advice regarding the tax consequences of any amount paid
hereunder; nor shall it be relied upon as such.

       8.12. Tax Forms. Notwithstanding anything else in this Agreement, Defendant shall have
no obligation to pay any Attorneys’ Fees to Class Counsel, and the Settlement Administrator shall
have no obligation to pay any Attorneys’ Expenses to Class Counsel or Incentive Award to



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Plaintiffs, unless Class Counsel and Plaintiffs have provided Defendant and Settlement
Administrator with a complete and correct IRS W-9 tax forms.

      8.13. Conflicts. In the event of a conflict between this Agreement and any other
document prepared pursuant to the Settlement, the terms of this Agreement supersede and control.

       8.14. No Waiver. Any failure by any Party to insist upon the strict performance by any
other Party of any provision of this Agreement shall not be deemed a waiver of any provision of
this Agreement and such Party, notwithstanding such failure, shall have the right thereafter to insist
upon the specific performance of any and all of the provisions of this Agreement.

        8.15. Warranties. Each signatory to this Agreement hereby warrants that he/she/it has
the authority to execute this Agreement and thereby bind the respective Party. The Class
Representatives warrant and represent that they are the sole and lawful owners of all rights, title,
and interest in and to all of the Released Claims and that they have not, by operation of law or
otherwise, sold, assigned, or transferred or purported to sell, assign, or transfer to any other person
or entity any Released Claims or any part or portion thereof.

        8.16. Binding Effect of the Agreement. This Agreement shall be valid and binding as to
the Parties and their respective heirs, legal representatives, executors, administrators, successors,
and assigns upon signing by all Parties.

         8.17. Execution in Counterparts. This Agreement shall become effective upon its
execution by all of the undersigned. The Parties may execute this Agreement in counterparts
and/or by fax or electronic mail, and execution of counterparts shall have the same force and effect
as if all Parties had signed the same instrument.

        8.18. Enforcement of this Agreement. If the Court grants Final Approval, it shall enter
Final Judgment. The Court shall retain jurisdiction solely to enforce, interpret, and implement this
Agreement.

       8.19. Notices. All notices to the Parties or counsel required by this Agreement shall be
made in writing and communicated by mail and email to the following addresses:

       If to Plaintiffs or Class Counsel:

       Mike Stag and Ashley Liuzza
       Stag Liuzza
       365 Canal St #2850
       New Orleans, LA 70130
       Telephone: (504) 593-9600
       Email: mstag@stagliuzza.com
       Email: aliuzza@stagliuzza.com

       If to Defendant or Defendant’s Counsel:

       Thomas E. Birsic and Jackie S. Celender
       K&L Gates LLP


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       210 Sixth Avenue
       Pittsburgh, PA 15222
       Telephone: (412) 355-6500
       Email: thomas.birsic@klgates.com
       Email: jackie.celender@klgates.com

       8.20.   Confidentiality.

                (a)     The Parties, Class Counsel, and Defendant’s Counsel agree to keep the
existence and contents of this Agreement confidential until the filing of the motion for Preliminary
Approval. All other settlement communications shall remain confidential. This provision will not
prevent the disclosure of the Agreement prior to the filing of the motion for Preliminary Approval
with the Court to (1) the Released Parties, the Released Parties’ independent accountants, the
Released Parties’ existing or potential insurers or reinsurers, experts retained for the purposes of
this Litigation, or any existing or potential investor of or any existing or potential lender to any of
the Released Parties; (2) the Settlement Administrator; and/or (3) any person or entity that the
Parties agree in writing must have access to it in order to effectuate the Settlement.

             (b)    Nothing in this Agreement will be construed to prohibit communications
between Defendant and any of the other Released Parties about the Settlement or any related topic.

                 (c)    If contacted by a Class Member regarding their rights under this Agreement,
any Released Parties shall refer the Class Member to Class Counsel. At no time shall any of the
Parties or their counsel or their agents seek to solicit Class Members or any other persons to submit
written objections to the Settlement; discourage Class Members from participating in the Property
Characterization/Remediation Work or the Anonymized Epidemiological Survey under the
Settlement; or encourage Class Members or any persons to appeal from the Preliminary Approval
Order and/or the Final Approval Order and Final Judgment. Except for the limitations on
communications set forth in this Section 8.20.c, Released Parties may continue to communicate
with Class Members in the regular and ordinary course of business.

               (d)    The Class Representatives and Class Counsel agree that the discussions and
the information exchanged in the course of negotiating this Agreement are confidential and were
made available on the condition that they not be disclosed to third parties (other than experts or
consultants retained by Class Counsel in connection with the Litigation), that they not be the
subject of public comment, and that they not be publicly disclosed or used by the Class
Representatives or Class Counsel in any way in the Litigation or in any other proceeding.

        8.21. Confidential Documents. The Parties reaffirm their obligation to comply with the
Agreed Protective Order (Dkt. No. 77) regarding confidential information. Class Counsel are
entitled to retain an archival copy of the entire file (paper and/or electronic), including all
pleadings, motion papers, transcripts, legal memoranda, correspondence, discovery, expert reports
and exhibits thereto, and attorney work product, even if such materials contain material designated
as confidential, provided that Class Counsel complies with all aspects of the Agreed Protective
Order (Dkt. No. 77), until 30 months after the Effective Date. Thirty months after the Effective
Date, Class Counsel shall destroy all copies of material designated as confidential, whether hard-
copy or electronic.


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        8.22. Exhibits. The Exhibits to the Agreement are an integral part of the Settlement and
are hereby incorporated and made part of the Agreement.

        8.23. Complete Resolution. The Parties intend for this Agreement to be a complete and
final resolution of all disputes between them with respect to the Litigation.




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APPROVED AND AGREED:

BY PLAINTIFFS:                          BY ARKEMA INC.




Larry Anderson                          William J. Hamel
                                        Senior Vice President & General Counsel
                                        Arkema Inc.



Tanya Anderson




Bevely Flannel




Roland Flannel




Corey Prantil




Betty Whatley




Bret Simmons




Phyllis Simmons


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                    Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SHANNAN WHEELER, et al.,
                                                    CIVIL ACTION
               Plaintiffs,
                                                    Case No. 4:17-cv-2960
       v.
                                                    Hon. Keith P. Ellison
ARKEMA INC.,

               Defendant.


           ORDER AMENDING CLASS DEFINITION, GRANTING
   PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT, APPROVING
    CLASS NOTICE, AND SETTING DATE FOR FINAL APPROVAL HEARING
       The Court, having considered Plaintiffs’ Unopposed Motion to Grant Preliminary

Approval of the Class Action Settlement, Defendant’s lack of opposition and agreement with the

relief requested, the pleadings on file, and all other relevant matter, determines that the motion

should be GRANTED. It is HEREBY ORDERED:

       1.      Capitalized Terms: The capitalized terms used in this Preliminary Approval

Order shall have the same meaning as defined in the Settlement Agreement, except as otherwise

expressly provided.

       2.      Certification of the Class: Following a five-day evidentiary hearing, this Court

granted in part Plaintiffs’ Renewed Motion for Class Certification and certified a class for

property remediation and medical surveillance under Federal Rule of Civil Procedure 23(b)(2)

defined as follows: “All residents and real property owners located within a 7-mile radius of the

Crosby, Texas, Arkema Chemical Plant.” Dkt. No. 316 at 111.

       3.      Amendment of Class Definition: For the reasons stated in Plaintiffs’ unopposed

motion, the Court hereby amends the definition of the Rule 23(b)(2) class certified for property



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remediation and medical surveillance. See In re Monumental Life Ins. Co., 365 F.3d 408, 414

(5th Cir. 2004) (“District courts are permitted to limit or modify class definitions to provide the

necessary precision.”); Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982) (“Even after a

certification order is entered, the judge remains free to modify [the class definition] in light of

subsequent developments in the litigation. For such an order, particularly during the period

before any notice is sent to members of the class, is inherently tentative.” (internals omitted));

FED. R. CIV. P. 23(c)(1)(C) (“An order that grants or denies class certification may be altered or

amended before final judgment.”). The amended Class definition is as follows: “All residents

and real property owners located within a 7-mile radius of the Crosby, Texas, Arkema Inc.

Chemical Plant since August 30, 2017.” Excluded from the class are (a) the Honorable Keith P.

Ellison and the Honorable Dena Palermo, any member of their staff who worked directly on this

Litigation, and any member of their immediate families; (b) counsel for the Parties, any member

of their respective staff who worked directly on this Litigation, and any member of their

immediate families; (c) any government entity; (d) any entity or real property in which

Defendant has a controlling interest; and (e) any of Defendant’s subsidiaries, parents, affiliates,

and officers, directors, employees, legal representatives, heirs, successors, or assigns.

       4.      Limited Purpose of Amended Class Definition: This amendment of the Class

definition is solely for the purpose of effectuating the Settlement Agreement. If the Settlement

Agreement is terminated or not consummated for any reason, the amended Class definition shall

be null and void and of no further effect with respect to any Party to this Litigation, and the

Parties to the Settlement Agreement shall be returned to the status each occupied before entry of

this Preliminary Approval Order without prejudice to any legal argument or right that any of the

Parties to the Settlement Agreement might have asserted but for the Settlement Agreement.




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       5.     Class Counsel: Michael G. Stag and Ashley Liuzza and the law firm of Stag

Liuzza, LLC; Van Bunch and the law firm of Bonnett Fairbourn Friedman & Balint, P.C.; Mark

F. Underwood and the law firm of Underwood Law Offices; and Kevin W. Thompson and the

law firm of Thompson Barney shall continue to serve as Class Counsel, and shall act on behalf of

the Class Representatives and all members of the Class.

       6.     Class Representatives: Corey Prantil, Betty Whatley, Bevely Flannel, Roland

Flannel, Larry Anderson, Tanya Anderson, Bret Simmons, and Phyllis Simmons shall serve as

Class Representatives.

       7.     Preliminary Approval of the Settlement: The Court hereby preliminarily

approves the Settlement Agreement and finds, pursuant to Federal Rule of Civil Procedure 23(e),

that it likely will be able to grant Final Approval of the Settlement Agreement as being fair,

reasonable, and adequate to the Class, subject to further consideration at the Final Approval

Hearing. Considering the factors set forth in Rule 23(e)(2), the Court preliminarily finds as

follows:

              a.         The Class Representatives and Class Counsel have adequately represented

       the Class.

              b.         The Settlement Agreement was negotiated at arm’s length.

              c.         The relief provided to the Class in the Settlement Agreement is adequate,

       given the risks and uncertainty of trial.

              d.         The Settlement Agreement treats all Class Members equally relative to

       each other.

       8.     Approval of the Class Notice and Notice Plan: The Court approves the form

and substance of the Class Notice and the Notice Plan set forth in the Settlement Agreement for




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notifying the Class of the Settlement Agreement. The Court finds that the Class Notice clearly

and accurately informs all members of the Class of all material terms of the Settlement

Agreement, meets the requirements of due process, Federal Rule of Civil Procedure 23, and all

other applicable laws, and constitutes the best notice practicable under the circumstances. The

Parties shall have discretion to jointly make non-material, minor revisions to the Class Notice.

       9.      Retention of Settlement Administrator for Class Notice: The Court approves

the appointment of Edgar C. Gentle, III, as the Settlement Administrator for the limited and sole

purpose of causing the Class Notice to be distributed to the Class and published, pursuant to the

Notice Plan in the Settlement Agreement, subject to the oversight of the Parties and this Court as

described in the Settlement Agreement.

       10.     Cost of Notice: As provided in the Settlement Agreement, all Administrative

Costs incurred in carrying out the Notice Plan shall be paid from the Expenses Escrow Account,

and in no event shall any of the Released Parties bear any responsibility or liability for such

Administrative Costs.

       11.     CAFA Notice: As provided in the Settlement Agreement, the Settlement

Administrator shall effect service of the notice required under the Class Action Fairness Act

(CAFA), 28 U.S.C. § 1715, et seq., no later than ten (10) calendar days following the entry of

this Preliminary Approval Order. The fees, costs, and expenses of the CAFA notice and

administering the CAFA notice shall be paid out of the Expenses Escrow Account. No later than

seventy (70) calendar days after Preliminary Approval, the Settlement Administrator shall cause

to be served on Class Counsel and filed with the Court proof, by affidavit or declaration,

regarding compliance with 28 U.S.C. § 1715(b).




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       12.     Appearance of Class Members: Any Class Member may enter an appearance in

the Lawsuit, at their expense, individually or through counsel of their own choice. If any Class

Member does not enter an appearance, they will be represented by Class Counsel.

       13.     Form of Objections: Class Members who wish to object must submit a written

statement of objection to the Clerk of Court, United States District Court for the Southern

District of Texas, 515 Rusk Avenue, Houston, TX 77002, postmarked or filed via the Court’s

electronic filing system (ECF), on or before the Objection Deadline. To be valid, an objection

must include: (a) a reference to this case, Shannan Wheeler, et al. v. Arkema Inc., Case No. 4:17-

2960-KPE (S.D. Tex), and the name of the presiding Judge, the Hon. Keith P. Ellison; (b) the

name, address, telephone number, and, if available, the email address of the Class Member

objecting, and if represented by counsel, their counsel’s name, address, telephone number, email,

and bar number; (c) a written statement of all grounds for the objection, accompanied by any

legal support for such objection; (d) a statement of whether they intend to appear at the Final

Approval Hearing, either with or without counsel; (e) a statement of their membership in the

Class; (f) a detailed list of any other objections submitted by the Class Member, or their counsel,

to any class actions submitted in any court, whether state or otherwise, in the United States in the

previous five (5) years; and (g) the Class Member’s signature, even if the objection is submitted

through counsel. If the Class Member or their counsel have not objected to any other class action

settlement in any court in the United States in the previous five (5) years, they shall affirmatively

state so in the written materials provided in connection with the objection to this Settlement. This

information is material to the Court’s consideration of the Settlement; failure to include this

information and documentation may be grounds for overruling and rejecting the objection. Any

Class Member who fails to timely submit a written objection prior to the Objection Deadline




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shall be deemed to have waived their objections, and those objections will not be considered by

the Court.

       14.     Appearance and Objection at the Final Approval Hearing: Any Class

Member shall have the right to appear and be heard at the Final Approval Hearing, either

personally or through an attorney retained at the Class Member’s own expense. However, if the

Class Member wishes to object to the Settlement Agreement at the Final Approval Hearing

(either personally or through counsel), the Class Member must submit a timely written objection

in compliance with the requirements in this Preliminary Approval Order. In addition, to appear in

person or by counsel at the Final Approval Hearing, the objecting Class Member must include in

their objection a Notice of Intention to Appear. The Notice of Intention to Appear must include

copies of any papers, exhibits, or other evidence that the objecting Class Member (or their

counsel) will present to the Court in connection with the Final Approval Hearing. Any Class

Member who fails to submit a proper Notice of Intention to Appear will not be heard during the

Final Approval Hearing. Class Members do not need to appear at the Final Approval Hearing or

take any other action to indicate their approval of the Settlement Agreement.

       15.     Failure to Object: Any Class Member who does not object to the Settlement or

Class Counsel’s application for an award of Attorneys’ Fees, Attorneys’ Expenses, and/or an

Incentive Award in the manner prescribed herein shall be deemed to have waived such objection,

and shall forever be foreclosed from making any objection to the fairness, adequacy, or

reasonableness of the Settlement, this Preliminary Approval Order, the Final Approval Order,

and the Final Judgment to be entered approving the Settlement and/or the application by Class

Counsel for an award of Attorneys’ Fees, Attorneys’ Expenses, and/or an Incentive Award.




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       16.     Settlement Procedures and Timeline: The following settlement procedures and

timeline will be followed:

               a.     Notice Date. By __________________, 202__ (30 days after Preliminary

       Approval), the Settlement Administrator shall send the Class Notice to Class Members

       pursuant to the Notice Plan set forth in the Settlement Agreement.

               b.     By __________________, 202__ (70 days after Preliminary Approval),

       the Settlement Administrator shall file a declaration confirming compliance with the

       Notice Plan set forth in the Settlement Agreement.

               c.     Objection Deadline. All objections to the Settlement Agreement shall be

       filed by __________________, 202__ (90 days after Preliminary Approval).

               d.     All replies in support of Final Approval or for any award of Attorneys’

       Fees, Attorneys’ Costs, or an Incentive Award (including responses to objections) must

       be filed by Plaintiffs by __________________, 202__ (105 days after Preliminary

       Approval). All such filings and supporting documentation shall be posted to the

       Settlement Website within one day of filing.

               e.     Final Approval Hearing. The Court shall hold the Final Approval

       Hearing for final approval of the settlement on __________________, 202__ (at least

       130 days after Preliminary Approval), at __:____ __.m. to address: (i) whether the

       Settlement Agreement should be finally approved as fair, reasonable, and adequate, and

       whether the Final Approval Order should be entered; and (ii) whether Class Counsel’s

       application for Attorneys’ Fees, Attorneys’ Expenses, and/or an Incentive Award should

       be approved.




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                f.      The Court may, for good cause, extend any of the deadlines set forth in

        this Preliminary Approval Order without further notice to the Class Members, though

        such extensions shall be posted to the Settlement Website. The Final Approval Hearing

        may be continued by order of the Court from time to time and without further notice to

        the Class Members beyond updates to the Court’s docket and the Settlement Website.

        17.     If The Settlement Is Not Finally Approved: In the event the Final Approval

Order or Final Judgment is not entered by the Court, or in the event that the Settlement

Agreement becomes null and void or terminates pursuant to its terms, the Settlement, this

Preliminary Approval Order, and all orders entered in connection herewith shall become null and

void, shall be of no further force and effect, and shall not be used or referred to for any purposes

whatsoever in this Litigation or in any other case or controversy. In such event the Settlement

Agreement and all negotiations and proceedings directly related thereto shall be deemed to be

without prejudice to the rights of any and all of the Parties, who shall be restored to their

respective positions as of the date and time immediately preceding the execution of the

Settlement Agreement.

        18.     No Admissions: This Preliminary Approval Order shall not be construed as an

admission or concession by Defendant of the truth of any Allegations made by the Plaintiffs or of

liability or fault of any kind.

        19.     Binding Effect: All Class Members shall be bound by all determinations and

judgments in the Lawsuit concerning the Settlement (including, but not limited to, the releases

provided for therein), whether favorable or unfavorable to the Class.

        20.     Authorization: Counsel for the Parties are hereby authorized to use all

reasonable procedures in connection with the administration of the Settlement that are not




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materially inconsistent with either this Preliminary Approval Order or the terms of the

Settlement Agreement.

       21.    Stay of Further Proceedings: All further proceedings and deadlines in this

action are hereby stayed except for those required to effectuate the Settlement Agreement and

this Preliminary Approval Order.



IT IS SO ORDERED.

SIGNED at Houston, Texas, on this _____ day of ________________, 202__.



                                              _______________________________________
                                              KEITH P. ELLISON
                                              UNITED STATES DISTRICT JUDGE




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                    Exhibit 2
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     NOTICE OF CLASS                                                            Wheeler, et al. v. Arkema Inc.
                                                                                Settlement Administrator
                                                                                                                             First-Class
                                                                                                                                Mail

         ACTION                                                                 [Address]                                    US Postage
                                                                                [Phone]                                         Paid
                                                                                                                             Permit #__

       SETTLEMENT

 To all residents and real
   property owners since                                                        |||||||||||||||||||||||
                                                                                Postal Service: Please do not mark barcode
 August 30, 2017, located
within a 7-mile radius of the                                                   «First1» «Last1»
    Crosby Arkema Inc.                                                          «C/O»
                                                                                «Addr1» «Addr2»

      Chemical Plant.
                                                                                «City», «St» «Zip»




               Please read
          to learn your rights.


A proposed class action settlement has been reached with             To see a more detailed notice of the terms of the
Arkema Inc. (“Defendant”), regarding fires that occurred at its      settlement, answers to frequently asked questions, and other
facility located at 18000 Crosby Eastgate Rd., Crosby, Texas         information about the Lawsuit, please visit the settlement
77532, during Hurricane Harvey in late August and early              website: crosbyharveysettlement.com. If you cannot access
September 2017. The settlement resolves a lawsuit entitled           the website, you can obtain the detailed notice by
Wheeler, et al. v. Arkema Inc., Case No. 4:17-cv-2960 (the           contacting the Settlement Administrator at the address or
“Lawsuit”), United States District Court for the Southern District   phone number on the reverse side of this card.
of Texas (the “Court”). The Court authorized this notice.
                                                               If the settlement is approved by the Court, any legal claims you
The Lawsuit alleges that the fires at Defendant's facility     have against the Defendant that were or could have been raised
deposited dioxin compounds on properties surrounding the       in the Lawsuit will be released that (1) seek injunctive,
facility. Defendant denies all allegations and claims. The Court
                                                               declaratory, equitable, or non-monetary relief; (2) arise under
has not decided the Lawsuit, but the parties have agreed to a  the Resource Conservation and Recovery                 Act    or
class settlement to resolve the dispute.                       Comprehensive Environmental Response, Compensation, and
                                                               Liability Act; and/or (3) are brought in a representative or
You received this notice because real property records reflect collective capacity.
that you may be a member of the Class. The Class includes all
residents and real property owners since August 30, 2017 You have the right to object to the settlement. Your objection
located within a 7-mile radius of the Crosby Arkema Inc. must be received by [Date]. For details on how to object, visit
Chemical Plant.                                                the settlement website at crosbyharveysettlement.com.
If you are a member of the Class and currently own real              The Court will hold a final approval hearing on [Date] at [Time]
property located within a 7-mile radius of the Crosby                to consider whether to approve the settlement. Class Counsel
Arkema Inc. Chemical Plant, you will be eligible to have             will ask the Court to award them $8,500,000 in Attorneys' Fees,
your real property tested for dioxin compounds, if you so            as well as lawsuit expenses, and an incentive award to the
request. Depending on the results, you may be eligible               individuals who started the Lawsuit. These funds are in
to have dioxin compounds removed from your real                      addition to the amounts available for property testing and
property. Additionally, all Class Members will have the              remediation and the disease study. You may appear at the
opportunity to participate in a study that will track the            hearing, but you do not have to.
potential for future development of certain diseases in the
community. The settlement makes more than $20 million
available for property testing removal, and an additional $1.7
million for the disease study.



           For more information, please visit the settlement website at crosbyharveysettlement.com.
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                    Exhibit 3
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 ATTENTION ALL RESIDENTS AND REAL PROPERTY OWNERS
SINCE AUGUST 30, 2017, LOCATED WITHIN A 7-MILE RADIUS OF
     THE CROSBY, TEXAS, ARKEMA INC. CHEMICAL PLANT

    This notice may affect your rights. Please read it carefully.
 A court has authorized this notice. This is not a solicitation from a lawyer.
•   This notice concerns a case called Wheeler, et al. v. Arkema Inc., Case No. 4:17-cv-2960-
    KPE, pending in the United States District Court for the Southern District of Texas.

•   This class action Settlement will resolve a lawsuit against Arkema Inc. (“Defendant”).
    The lawsuit affects all individuals who have resided or owned real property located
    within a seven-mile radius (measured as a straight-line distance) from the fenceline
    boundary of Defendant’s facility located at 18000 Crosby Eastgate Rd., Crosby, Texas
    77532 (the “Class Area”), since August 30, 2017 (the “Class”).

•   The lawsuit contends that the fires that occurred at Defendant’s facility in Crosby, Texas,
    during Hurricane Harvey in August and September 2017 deposited dioxin compounds on
    properties surrounding the facility. The lawsuit seeks a court order to mandate that
    Defendant pay to test real properties located within the Class Area for dioxin compounds,
    pay to remove dioxin compounds from properties where tests exceed certain thresholds,
    and to fund a medical surveillance program.

•   Defendant denies any wrongdoing. It contends that it complied with the law in all
    respects and at all times, and that the fires did not result in any harm to persons or
    property.

•   To settle the case, Defendant has agreed to fund an account with more than $20,000,000
    to pay for testing of real properties located within the Class Area for dioxin compounds,
    if requested by a Class Member who currently owns the real property, and, depending on
    eligibility criteria, to have dioxin compounds removed from real properties located within
    the Class Area. In addition, Defendant agreed to fund an account with $1,700,000 to pay
    for an anonymized epidemiological study that will track the potential for future
    development of certain chronic diseases that all Class Members will have the opportunity
    to participate in.

•   The lawyers who brought the lawsuit (“Class Counsel”) will ask the Court to award them
    $8,500,000 in Attorneys’ Fees and [Amount] in Attorneys’ Expenses, to be paid by
    Defendant, for investigating the facts, litigating the case, and negotiating the Settlement.
    Class Counsel will also ask for $200,000 for the individuals who brought this lawsuit.
    This payment is called the “Class Representatives Incentive Award.” These funds are in


          Questions? Visit crosbyharveysettlement.com or call [phone number].
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        addition to the amounts available for property testing and remediation and the disease
        study.

   •    Your legal rights are affected whether or not you act. Read this notice carefully.
This notice summarizes the proposed Settlement. For the precise terms and conditions of the
Settlement, please see the Settlement Agreement, available at crosbyharveysettlement.com, or
contact the Settlement Administrator at [address] or by telephone at [phone number].

   PLEASE DO NOT CALL THE COURT OR THE COURT CLERK’S OFFICE TO
                  INQUIRE ABOUT THIS SETTLEMENT

   YOUR RIGHTS AND OPTIONS IN THIS SETTLEMENT                                    DEADLINE
                  Write to the Court about any aspect of the
                  Settlement you don’t like or you don’t think is
                  fair, adequate, or reasonable. (If you object to
   File Objection any aspect of the Settlement, you must submit                     [DATE]
                  a written objection by the Objection
                  Deadline).

                          Speak in Court about the Settlement. (If you
                          object to any aspect of the Settlement, you
  Go to a Hearing         must submit a written objection by the                    [DATE]
                          Objection Deadline noted above).

                          You will receive the benefit of the Settlement
                          if the Court approves it. If you are a Class
                          member, you will have the opportunity to
                          participate in an anonymized epidemiological
                          study to track the potential for future
                          development of certain diseases. If you
                          currently own real property located within a
                          seven-mile radius of the fenceline boundary
       Do Nothing
                          of the Crosby, Texas, Arkema Inc. Chemical
                          Plant, you will be eligible to have your real
                          property tested for dioxin compounds, if you
                          request, and, depending on eligibility criteria,
                          you will be eligible to have dioxin compounds
                          removed from your real property (each
                          subject to fund availability).



   •    These rights and options—and deadlines to exercise them—are explained in this notice.

   •    The Court in charge of this case still has to decide whether to approve the Settlement.
        The benefits of the Settlement will be provided to Class Members only if the Court


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                                               2
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    approves the Settlement. If there are appeals, these benefits will not be provided until the
    appeals are resolved and the Settlement becomes effective. Please be patient.

•   Final Approval Hearing
    On [date], at [time], the Court will hold a hearing to determine: (1) whether the
    Settlement should be approved as fair, reasonable, and adequate, and should receive final
    approval; (2) whether Class Counsel’s application for Attorneys’ Fees and Attorneys’
    Expenses should be granted; and (3) whether the application for the Class
    Representatives Incentive Award should be granted. The hearing will be held in the
    United States District Court for the Southern District of Texas, Houston Division, before
    the Honorable Keith P. Ellison, 515 Rusk Avenue, Houston, TX 77002, in Courtroom
    3716 on the 3rd Floor, or such other judge assigned by the Court. This hearing date may
    change without further notice to you. Consult the Settlement Website at
    crosbyharveysettlement.com, or the Court docket in this case available through Public
    Access to Court Electronic Records (“PACER”) (http://www.pacer.gov), for updated
    information on the hearing date and time.

                                                Important Dates
                                                 [DATE] Opt-Out Deadline
                                                 [DATE] Final Approval Hearing


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1.      How Do I Know If I Am Affected By The Settlement?

        This case is about fires that occurred at Defendant’s facility located at 18000 Crosby
Eastgate Rd., Crosby, Texas 77532, during Hurricane Harvey in late August and early September
2017. If you resided or owned a real property located within a seven-mile radius (measured as a
straight-line distance) of the fenceline boundary of that facility at any point since August 30,
2017, you are a member of the Class.
        On May 18, 2022, the Court certified a Class defined as “All residents and real property
owners located within a 7-mile radius of the Crosby, Texas, Arkema Inc. Chemical Plant.”
Excluded from the Class are: (a) the Honorable Keith P. Ellison and the Honorable Dena
Palermo, any member of their staff who worked directly on this litigation, and any member of
their immediate families; (b) counsel for the parties to the lawsuit, any member of their
respective staff who worked directly on the this litigation, and any member of their immediate
families; (c) any government entity; (d) any entity or real property in which Defendant has a
controlling interest; and (e) any of Defendant’s subsidiaries, parents, affiliates, and officers,
directors, employees, legal representatives, heirs, successors, or assigns.
       If the Settlement does not become effective (for example, because it is not finally
approved, or the approval is reversed on appeal), then this litigation will continue.


2.      What Is The Lawsuit About?

        A lawsuit was brought by Plaintiffs against Defendant following fires that occurred at
Defendant’s facility located at 18000 Crosby Eastgate Rd., Crosby, Texas 77532, during
Hurricane Harvey in late August and early September 2017. Plaintiffs allege that the fires caused
harm to persons and property. Defendant denies that there is any factual or legal basis for
Plaintiffs’ allegations. Plaintiffs contend that the fires deposited dioxin compounds on properties
surrounding Defendant’s Crosby facility at a level that poses a risk to human health or the
environment. Defendant contends that the fires did not result in any harm or risk of harm to
persons or property. In the lawsuit, Defendant has asserted defenses to the claims raised by
Plaintiffs on behalf of the Class. The Court has not determined whether Plaintiffs or Defendant is
correct.
        This lawsuit is a class action. A class action is a lawsuit in which the claims and rights of
many people are decided in a single court proceeding. One or more people—sometimes called
“class representatives”—sue on behalf of people who may have similar claims. All of the people
who may have similar claims form a “class” and are “class members.” A settlement in a class
action—if approved by the Court as fair, reasonable, and adequate—resolves the claims for all
class members.




              Questions? Visit crosbyharveysettlement.com or call [phone number].
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3.      Why Is There A Lawsuit?

         Although Defendant denies that there is any legal entitlement to any relief, Plaintiffs
contend that the fires at Defendant’s Crosby facility deposited dioxin compounds on properties
surrounding Defendant’s Crosby facility at a level that poses a risk to human health or the
environment. Among other things, the lawsuit seeks a court order to mandate that Defendant pay
to test real properties located within the Class Area for dioxin compounds, pay to remove dioxin
compounds from properties where tests exceed certain thresholds, and fund a medical
surveillance program.


4.      Why Is This Case Being Settled?

      The Court has not decided in favor of either side in the lawsuit. Neither Plaintiffs nor
Defendant has won or lost.
        Instead, Class Counsel have investigated the facts and applicable law concerning the
Plaintiffs’ and Class’s claims and Defendant’s defenses over the course of six years of litigation
and determined that the proposed Settlement is in the best interests of the Class. Plaintiffs filed
their original lawsuit on October 3, 2017. On June 3, 2019, following extensive fact and expert
investigation by the Parties, the Court certified classes for property damages, property
remediation, and medical surveillance. Defendant successfully appealed that class-certification
decision, and the United States Court of Appeals for the Fifth Circuit decertified the classes on
January 22, 2021. On May 18, 2022, following additional fact and expert investigation by the
Parties, the Court certified classes for property remediation and medical surveillance, but denied
certification for the requested property damages class. The case was then set to proceed to trial.
        During six years of litigation, Class Counsel have conducted a thorough examination and
investigation into the facts and law at issue. The parties participated in mediation sessions with
the Honorable Dena Palermo, United States Magistrate Judge for the Southern District of Texas.
       Class Counsel and counsel for Defendant have determined that continuing the litigation
would present significant risks to both sides. For example, Class Counsel have concluded that
there may be substantial difficulties establishing that any dioxin compounds deposited on
properties from the fires at Defendant’s Crosby facility pose an imminent and substantial threat
to human health or the environment. And both sides want to avoid the uncertainty, delay, and
expense of continuing to litigate.
       The Parties have engaged in mediation and several rounds of settlement discussions.
After considering the risks and costs of further litigation, the Parties have concluded that it is
desirable that the Plaintiffs’ claims be settled and dismissed on the terms of the Settlement
Agreement.
       Plaintiffs and Class Counsel have concluded that the terms and conditions of the
Settlement are fair, reasonable, and adequate, and that the Settlement is in the best interest of the
Class Members. The Settlement allows all Class Members to have the opportunity to participate
in an anonymized epidemiological study to track the potential for future development of certain


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diseases. And Class Members who currently own real property located within a seven-mile
radius of the fenceline boundary of the Crosby, Texas, Arkema Inc. Chemical Plant, will be
eligible to have their real property tested for dioxin compounds, if they request that, and,
depending on eligibility criteria, will be eligible to have dioxin compounds removed from their
real property (each subject to fund availability).


5.      What Can I Get In The Settlement?

        Class Members who currently own real property located within a seven-mile radius of the
fenceline boundary of the Crosby, Texas, Arkema Inc. Chemical Plant (measured as a straight-
line distance), will be eligible to have their real property tested for dioxin compounds, if they
request that, and, depending on eligibility criteria, will be eligible to have dioxin compounds
removed from their real property (each subject to fund availability).
      In addition, all Class Members will have the opportunity to participate in an anonymized
epidemiological study to track the potential for future development of certain diseases.


6.      How Do I Participate In The Settlement?

      Information regarding how to participate in the Settlement is available on the Settlement
Website at crosbyharveysettlement.com.


7.      How Can I Take Advantage Of The Benefits Provided For By The Settlement?

        If the Court approves the Settlement and there are no appeals, then Class Members will
be able to take advantage of the benefits provided for by the Settlement approximately 31 days
after the Court enters its Final Approval Order. If the Court approves the Settlement and an
appeal is taken, and the Settlement is upheld on appeal, then Class Members will be able to take
advantage of the benefits provided for by the Settlement approximately three business days after
the conclusion of the appeal. But if the Court does not approve the Settlement, or if the
Settlement is overturned on appeal, no benefits of the Settlement will be available.


8.      What Do Plaintiffs And Their Lawyers Get?

        To date, Class Counsel have not been compensated for any of their work on this case. As
part of the Settlement, Class Counsel may apply to the Court to award them up to $8,500,000
from Defendant to pay their Attorney’s Fees, and up to [amount] to reimburse their Attorneys’
Expenses. Defendant has the right to object to Class Counsel’s Application for Attorneys’ Fees if
it is in an amount that exceeds $8,500,000, and to object to Class Counsel’s Application for
Attorneys’ Expenses if it is in an amount that exceeds $2,000,000. An award to Class Counsel
does not reduce the funds available for Class benefits.


             Questions? Visit crosbyharveysettlement.com or call [phone number].
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         In addition, the named Class Representatives in this case may apply to the Court for a
Class Representatives Incentive Award up to $200,000 total. This payment is designed to
compensate the named Class Representatives for the time and effort they undertook in pursuing
this litigation to the benefit of the Class. Any Class Representatives Incentive Award does not
reduce the funds available for Class benefits.
       A copy of Class Counsel’s motion for an award for Attorneys’ Fees and Attorneys’
Expenses, and for a Class Representative Incentive Award is available on the Settlement
Website: crosbyharveysettlement.com. The Court will determine the amount of Attorneys’ Fees,
Attorneys’ Expenses, and Class Representatives Incentive Award.


9.      What Happens If The Settlement Is Approved?

        If you are a Class Member and the Settlement is ultimately approved, you will be legally
bound by all orders and judgments of the Court, and you will also be legally bound to the
releases in the Settlement. This means that in exchange for being a Class Member and being
eligible for the benefits in the Settlement, you will not be able to sue, continue to sue, or be part
of any other lawsuit against Defendant and/or any of the Released Parties that involves the same
legal claims as those resolved through this Settlement.
        You will not be responsible for any out-of-pocket costs or attorneys’ fees concerning this
case.
        If the Settlement is ultimately approved, being a Class Member means that you agree to
the following terms of the Settlement that describe exactly the legal claims that you give up:
     a. Upon Final Approval, Class Members other than the Class Representatives, and all other
        persons acting or purporting to act on a Class Member’s behalf, including but not limited
        to the Class Member’s parent, child, heir, guardian, associate, co-owner, attorney, agent,
        administrator, executor, devisee, predecessor, successor, assignee, assigns, representative
        of any kind, shareholder, partner, director, employee or affiliate, shall have
        unconditionally, completely, and irrevocably released and discharged the Released
        Parties from any and all claims, liens, demands, actions, causes of action, rights, duties,
        obligations, or liabilities, known or unknown, that arise directly or indirectly out of, or in
        any way relate to the Litigation or the Allegations that (1) seek injunctive, declaratory,
        equitable, or other non-monetary relief, of any nature whatsoever arising under any legal
        theory or claim whatsoever, whether by common law, statute, or otherwise; (2) arise
        under the Resource Conservation and Recovery Act or the Comprehensive
        Environmental Response, Compensation, and Liability Act; and/or (3) are brought in a
        representative or collective capacity, of any nature whatsoever arising under any legal
        theory or claim whatsoever, whether by common law, statute, or otherwise, and seeking
        any relief of any nature whatsoever. Upon Final Approval, Class Members shall be
        forever barred from initiating, maintaining, or prosecuting any Released Claims against
        the Released Parties.




               Questions? Visit crosbyharveysettlement.com or call [phone number].
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   b. Class Members shall, by operation of Final Approval Order and Final Judgment, be
      deemed to have waived the provisions, rights and benefits of California Civil Code
      Section 1542, and any similar law of any state or territory of the United States or
      principle of common law, but only with respect to the matters released as set forth above.
      California Civil Code Section 1542 provides:

              A general release does not extend to claims that the creditor or
              releasing party does not know or suspect to exist in his or her favor
              at the time of executing the release and that, if known by him or
              her, would have materially affected his or her settlement with the
              debtor or released party.

       The Class Members shall, by operation of the Final Approval Order and Final Judgment,
       be deemed to assume the risk that facts additional, different, or contrary to the facts that
       each believes or understands to exist, may now exist, or may be discovered after the
       release set forth in this Agreement becomes effective, and the Parties and Class Members
       shall, by operation of the Final Approval Order and Final Judgment, be deemed to have
       agreed that any such additional, different, or contrary facts shall in no way limit, waive,
       or reduce the foregoing releases, which shall remain in full force and effect.

   c. Class Members agree and covenant not to sue any Released Parties with respect to any of
      the Released Claims set forth above, or otherwise to assist others in doing so, and agree
      to be forever barred from doing so, in any court of law or equity, or any other forum.
      Each Class Member will be deemed to have agreed and covenanted not to sue any
      Released Parties with respect to any of the Released Claims as set forth above, and agree
      to be forever barred from doing so, in any court of law or equity, or any other forum.

   d. Class Members shall be deemed to have agreed that the release set forth herein will be
      and may be raised as a complete defense to and will preclude any action or proceeding
      based on the Released Claims.

   e. The term “Released Parties” as used above includes Defendant and its current and former
      parent companies, subsidiaries, affiliates, divisions, and current and former affiliated
      individuals and entities, legal successors, predecessors (including companies they have
      acquired, purchased, or absorbed), assigns, joint ventures, and each and all of their
      respective officers, partners, directors, owners, stockholders, servants, agents,
      shareholders, members, managers, principals, investment advisors, consultants,
      employees, representatives, attorneys, accountants, lenders, underwriters, benefits
      administrators, investors, funds, and insurers, past, present and future, and all persons
      acting under, by, through, or in concert with any of them.

The full text of the Settlement Agreement, which includes all of the provisions about settled
claims and releases, is available on the website: crosbyharveysettlement.com.




             Questions? Visit crosbyharveysettlement.com or call [phone number].
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10.    How Do I Object To The Settlement?

       You can ask the Court to deny approval of the Settlement by timely filing an objection
with the Court. You can’t ask the Court to require a larger or different Settlement; the Court can
only approve or disallow the Settlement. If the Court denies approval to the Settlement, no Class
Members will receive the benefits of the Settlement, and the lawsuit will continue.
       You can also ask the Court to disapprove the requested Attorneys’ Fees, Attorneys’
Expenses, and/or Class Representatives Incentive Awards. If any of those payments are
disapproved or reduced, no additional benefits will be made available to the Class. Instead, any
amounts disapproved for Attorneys’ Fees will be retained by Defendant, any amounts
disapproved for Attorneys’ Expenses will remain available and earmarked to pay for
Administration Costs incurred by the Settlement Administrator, and any amounts disapproved
for Class Representatives Incentive Awards will be donated in equal amounts to Houston
Wilderness, Buffalo Bayou Partnership, Coastal Prairie Conservancy, Galveston Bay
Foundation, and Armand Bayou Nature Center.
       You may also appear at the Final Approval Hearing, either in person or through your own
attorney. If you appear through your own attorney, you are responsible for paying that attorney.
If you want to raise an objection to the Settlement at the Final Approval Hearing, you must
submit that objection in writing, by the Objection Deadline, which is [date], to the Clerk of
Court, United States District Court for the Southern District of Texas, 515 Rusk Avenue,
Houston, TX 77002, postmarked or filed via the Court’s electronic filing system (ECF).
        To be valid, an objection must include: (a) a reference to this case, Shannan Wheeler, et
al. v. Arkema Inc., Case No. 4:17-2960-KPE (S.D. Tex.), and the name of the presiding Judge,
the Hon. Keith P. Ellison; (b) your name, address, telephone number, and, if available, email
address, and, if you are represented by counsel, your counsel’s name, address, telephone number,
email, and bar number; (c) a written statement of all grounds for the objection, accompanied by
any legal support for such objection; (d) a statement of whether you intend to appear at the Final
Approval Hearing, either with or without counsel; (e) a statement of your membership in the
Class; (f) a detailed list of any other objections submitted by you, or your counsel, to any class
actions submitted in any court, whether state or otherwise, in the United States in the previous
five (5) years; and (g) your signature, even if the objection is submitted through counsel. If you
or your counsel have not objected to any other class action settlement in any court in the United
States in the previous five (5) years, you shall affirmatively state so in the written materials
provided in connection with the objection to this Settlement. This information is material to the
Court’s consideration of the Settlement; failure to include this information and documentation
may be grounds for overruling and rejecting the objection.
        You have the right to appear and be heard at the Final Approval Hearing, either
personally or through an attorney retained at your own expense. However, if you wish to object
to the Settlement Agreement at the Final Approval Hearing (either personally or through
counsel), you must submit a timely written objection in compliance with the requirements above.
In addition, if you are objecting, to appear in person or by counsel at the Final Approval Hearing,
you must include in your objection a Notice of Intention to Appear. The Notice of Intention to
Appear must include copies of any papers, exhibits, or other evidence that you (or your counsel)


             Questions? Visit crosbyharveysettlement.com or call [phone number].
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will present to the Court in connection with the Final Approval Hearing. Any Class Member who
fails to submit a proper Notice of Intention to Appear will not be heard during the Final
Approval Hearing.

        If you fail to comply with these requirements or fail to submit your objection and
Notice of Intention to Appear by the deadline (which is [date]), you may be deemed to have
waived all objections and may not be entitled to speak at the Final Approval Hearing on
[date].
        You do not need to appear at the Final Approval Hearing or take any other action to
indicate your approval of the Settlement Agreement.


11.    When Will The Court Decide If The Settlement Is Approved?

       The Court will hold a hearing on [date] to consider whether to approve the Settlement.
The hearing will be held in the United States District Court for the Southern District of Texas,
Houston Division, before the Honorable Keith P. Ellison, 515 Rusk Avenue, Houston, TX
77002, in Courtroom 3716 on the 3rd Floor, or such other judge assigned by the Court.
         The hearing is open to the public. This hearing date may change without further notice to
you. Consult the Settlement Website at crosbyharveysettlement.com or the Court docket in this
case available through the Public Access to Court Electronic Records (“PACER”)
(http://pacer.gov), for updated information on the hearing date and time.


12.    How Do I Get More Information?

       You can inspect many of the Court documents connected with this case on the Settlement
Website. Other papers filed in this lawsuit are available by accessing the Court docket in this
case available through PACER (http://pacer.gov).
      You can contact the Settlement Administrator at [address] or by telephone at [phone
number].
       You can also obtain additional information by contacting Class Counsel:
                              Mike Stag and Ashley Liuzza
                              Stag Liuzza
                              365 Canal St #2850
                              New Orleans, LA 70130
                              Telephone: (504) 593-9600
                              https://stagliuzza.com/

       Please do not address any questions about the Settlement or Litigation to the Clerk of
Court or the Judge.



             Questions? Visit crosbyharveysettlement.com or call [phone number].
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                    Exhibit 4
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    SHANNAN WHEELER, et al.,
                                                     CIVIL ACTION
                  Plaintiffs,
                                                     Case No. 4:17-cv-2960
          v.
                                                     Hon. Keith P. Ellison
    ARKEMA INC.,

                  Defendant.


                           ORDER GRANTING
    FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND FINAL JUDGMENT

         Plaintiffs Larry Anderson, Tanya Anderson, Bevely Flannel, Roland Flannel, Corey

Prantil, Betty Whatley, Bret Simmons, and Phyllis Simmons have moved the Court for final

approval of a proposed class-action settlement with Defendant Arkema Inc., the terms and

conditions of which are set forth in the Settlement Agreement filed with the Court on [date] (Dkt.

___). 1 For the reasons described more fully below, the Court GRANTS final approval of the

Settlement.

                                   PROCEDURAL HISTORY

         This case concerns fires that occurred at Defendant’s facility located at 18000 Crosby

Eastgate Rd., Crosby, Texas 77532, during Hurricane Harvey in late August and early September

2017. The procedural history is summarized in the Settlement at Sections 1.1 through 1.22.




1
    Capitalized terms herein have the same meaning as set forth in the Settlement Agreement.



                                                 1
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                           SUMMARY OF SETTLEMENT TERMS

       Class Members are “all residents and real property owners located within a 7-mile radius

of the Crosby, Texas, Arkema Inc. Chemical Plant since August 30, 2017.” 2 Under the Settlement

Agreement, Defendant shall make a payment in the amount of $24,000,000.00 into a single escrow

account, which the Settlement Administrator shall direct into four escrow accounts as follows:

(1) $20,100,000.00 into the Property Characterization/Remediation Escrow Account to fund the

Property Characterization and Remediation Work; (2) $1,700,000.00 into the Anonymized

Epidemiological Study Escrow Account to fund the Anonymized Epidemiological Study;

(3) $200,000.00 into the Incentive Awards Escrow Account; and (4) $2,000,000.00 into the

Expenses Escrow Account.

       Class Members who currently own real property located within a seven-mile radius of

Defendant’s Crosby facility (measured as a straight-line distance), will be eligible to have their

real property tested for dioxin compounds, if they request that, and, depending on eligibility

criteria, will be eligible to have dioxin compounds removed from their real property (each subject

to fund availability). In addition, all Class Members will have the opportunity to participate in an

anonymized epidemiological study to track the potential for future development of certain

diseases.




2
  Excluded from the class are (a) the Honorable Keith P. Ellison and the Honorable Dena Palermo,
any member of their staffs who worked directly on this Litigation, and any member of their
immediate families; (b) counsel for the Parties, any member of their respective staffs who worked
directly on this Litigation, and any member of their immediate families; (c) any government entity;
(d) any entity or real property in which Defendant has a controlling interest; and (e) any of
Defendant’s subsidiaries, parents, affiliates, and officers, directors, employees, legal
representatives, heirs, successors, or assigns.


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         The Settlement also provides that Class Counsel may seek an award of up to $8,500,000.00

in Attorneys’ Fees, up to $2,000,000.00 to reimburse their Attorneys’ Expenses, and up to

$200,000.00 total for Class Representatives Incentive Awards.

                     NOTICE AND SETTLEMENT ADMINISTRATION

         The Settlement Agreement is being administered by a well-known, independent settlement

administrator, Edgar C. Gentle, III. Following the Court’s preliminary approval, the Settlement

Administrator established the Settlement Website at crosbyharveysettlement.com, which

contained (1) the Long Form Notice that provides (a) more details about the case and the

Settlement, (b) the procedures for Class Members to object to the Settlement, (c) answers to

frequently asked questions about the Settlement, and (d) a contact information page that includes

the address and telephone numbers for the Settlement Administrator and Class Counsel; (2) the

Settlement Agreement; and (3) the signed Preliminary Approval Order. In addition, the papers in

support of Final Approval and the Application for Attorneys’ Fees, Attorneys’ Costs, and an

Incentive Award were placed on the Settlement Website after they were filed. The Settlement

Administrator also operated a toll-free number for class member inquiries.

         Notice of the Settlement was provided to the Class Members via the Postcard Notice mailed

to each Class Member and the Long Form Notice posted to the Settlement Website.

                                           ANALYSIS

I.       Jurisdiction.

         This court has jurisdiction under 28 U.S.C. § 1332(d)(2).

II.      Notice.

         The Notice Plan provided notice to Class Members directly. The Court reaffirms the

finding it made in the Preliminary Approval Order that the Notice Plan provided the best




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practicable notice to the Class Members and satisfied the requirements of due process. See Fed. R.

Civ. P. 23(e)(1) (“[t]he court must direct notice in a reasonable manner to all class members who

would be bound by the proposal”); ODonnell v. Harris Cty., Tex., No. 16-1414, 2019 WL 4224040,

at *26 (S.D. Tex. Sept. 5, 2019) (Rosenthal, J.) (regarding Rule 23(b)(2) class, “[d]ue process is

satisfied if the notice provides class members with the information reasonably necessary for them

to make a decision whether to object to the settlement” (internals omitted)).

III.   Final approval of the Settlement.

       A court may approve a proposed class-action settlement of a certified class only:

       after a hearing and on a finding that it is fair, reasonable, and adequate after
       considering whether:

               (A) the class representatives and class counsel have adequately represented
               the class;

               (B) the proposal was negotiated at arm’s length;

               (C) the relief provided for the class is adequate, taking into account:

                       (i) the costs, risks, and delay of trial and appeal;

                       (ii) the effectiveness of any proposed method of distributing relief
                       to the class, including the method of processing class-member
                       claims;

                       (iii) the terms of any proposed award of attorney’s fees, including
                       timing of payment; and

                       (iv) any agreement required to be identified under Rule 23(e)(3); and

               (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2). In addition, courts within the Fifth Circuit consider the following six

factors in determining whether to approve a class-action settlement: (1) the existence of fraud or

collusion; (2) the complexity, expense, and likely duration of the litigation; (3) the stage of the

proceedings; (4) plaintiff’s probability of success on the merits; (5) the range of possible recovery;



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and (6) the opinions of class counsel, class representatives, and absent class members. Reed v.

Gen. Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983). The Rule 23(e)(2) requirements overlap

significantly with the Reed factors, so the Court will consider the Rule 23(e)(2) requirements as

informed by the Reed factors.

       In reviewing the Settlement, the Court does not address whether the Settlement is ideal or

the best outcome, but determines only whether the settlement is fair, free of collusion, and

consistent with Plaintiffs’ fiduciary obligations to the class. Glover v. Woodbolt Dist., Ltd., No.

12-2191, 2012 WL 5456361, at *1 (S.D. Tex. Nov. 7, 2012) (Miller, J.).

       For the reasons further detailed below and discussed at the Final Approval hearing, the

Court finds that the Settlement is fair, reasonable, and adequate to all Class Members, including

those who are minors, lack capacity, incompetent, or deceased, under the Rule 23(e)(2)

requirements and Reed factors. Class Counsel weighed the risks inherent in establishing all the

elements of their claims and proving entitlement to the relief requested. Defendant vigorously

denied all allegations. Proceeding to trial would have been costly, recovery was not guaranteed,

and there was the possibility of continued, protracted appeals. The Settlement was reached only

after extensive litigation, including requesting and receiving written discovery responses,

examining hundreds of thousands of pages of Defendant’s documents, retaining 20+ expert

witnesses and reviewing their expert reports, conducting more than 30 depositions, participating

in days of hearings on the admissibility of expert testimony, conducting two full class certification

proceedings in the matter, including two full rounds of briefing and two lengthy hearings, and an

interlocutory appeal and request for a second interlocutory appeal. Counsel for both Parties were

highly experienced. There is no factual basis to support any allegation of collusion or self-dealing.




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       A.      The Class Representatives and Class Counsel have adequately represented the
               Class.

       In the Court’s order certifying the Class (Dkt. No. 316), the Court found that the Class

Representatives and Class Counsel adequately represented the interests of the Class. The Court

has seen no evidence to contradict its previous finding, and reconfirms it here. Class Counsel has

vigorously prosecuted this action through motion practice, defense of an interlocutory appeal and

request for a second interlocutory appeal, extensive discovery, and formal mediation, and therefore

“[a]mple record evidence shows that the class has been ably and diligently represented” and “[t]his

weighs heavily in favor of approving the … settlement agreement.” ODonnell, 2019 WL 6219933,

at *10. Rule 23(e)(2)(A)’s requirement is met.

       B.      The Settlement was negotiated at arm’s length.

       Rule 23(e)(2)(B) and the first Reed factor both question whether fraud or collusion exists

in the negotiation. This Court finds that the Settlement is the product of serious, non-collusive,

arms’-length negotiations by experienced counsel with the assistance of the Honorable Dena

Palermo as a neutral mediator. See, e.g., Cole v. Collier, No. 14-1698, 2018 WL 2766028, at *4

(S.D. Tex. June 8, 2018) (Ellison, J.) (“There is no evidence of collusion between the parties in

the record…. The parties reached agreement after arm’s-length negotiations, conducted in good

faith. A neutral mediator facilitated the settlement negotiations.”); Jasso v. HC Carriers, LLC, No.

20-212, 2022 WL 16927813, at *4 (S.D. Tex. Oct. 19, 2022) (Kazen, M.J.) (“the parties represent

that their settlement agreement was the product of substantial arm’s-length negotiations, with the

assistance of an experienced … mediator. Accordingly, the first [Reed] factor weighs in favor of

the settlement agreement.” (internals omitted)).

       The Court has independently and carefully reviewed the record for any signs of collusion

and self-dealing, and finds that no collusion or self-dealing occurred. Specifically, the Court finds



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that Class Counsel did not compromise the claims of the settlement class in exchange for higher

fees. The Parties did not discuss or negotiate Attorneys’ Fees until after the Parties had already

agreed upon relief for the Class. The requirements of Rule 23(e)(2)(B) and the first Reed factor are

met.

       C.      The relief to the Class is adequate.

       Rule 23(e)(2)(C) requires the relief granted by the Settlement to be adequate, taking into

account (i) the costs, risks, and delay of trial and appeal; (ii) the effectiveness of any proposed

method of distributing relief; (iii) the terms of any award of attorneys’ fees; and (iv) any side

agreements. Rule 23(e)(2)(C)’s considerations also implicate Reed factors two through five: the

complexity, expense, and likely duration of the litigation; the stage of the proceedings; plaintiffs’

probability of success; and the range of possible recovery. See Kostka v. Dickey’s Barbecue

Restaurants, Inc., No. 20-3424, 2022 WL 16821685, at *11 (N.D. Tex. Oct. 14, 2022) (comparing

Rule 23(e)(2)(C)’s requirements with the Reed factors). For the reasons explained below, Rule

23(e)(2)(C)’s requirements and Reed factors two through five are satisfied.

               1.      Recovery to the Class.

       Although not articulated as a separate factor in Rule 23(e), “[t]he relief that the settlement

is expected to provide to class members is a central concern.” Fed. R. Civ. P. 23(e)(2)(C)–(D),

adv. comm. n. to 2018 am. In evaluating the relief provided, there “is a strong presumption in favor

of finding the Settlement Agreement fair.” DeHoyos v. Allstate Corp., 240 F.R.D. 269, 286 (W.D.

Tex. 2007) (internals omitted).

       Defendant has agreed to make a payment in the amount of $24,000,000.00 into a single

escrow account, which the Settlement Administrator shall direct into four escrow accounts as

follows: (1) $20,100,000.00 into the Property Characterization/Remediation Escrow Account to




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fund the Property Characterization and Remediation Work; (2) $1,700,000.00 into the

Anonymized Epidemiological Study Escrow Account to fund the Anonymized Epidemiological

Study; (3) $200,000.00 into the Incentive Awards Escrow Account; and (4) $2,000,000.00 into the

Expenses Escrow Account. Class Members who currently own real property located within a

seven-mile radius of Defendant’s Crosby facility (measured as a straight-line distance), will be

eligible to have their real property tested for dioxin compounds, if they request that, and, depending

on eligibility criteria, will be eligible to have dioxin compounds removed from their real property

(each subject to fund availability). In addition, all Class Members will have the opportunity to

participate in an anonymized epidemiological study to track the potential for future development

of certain diseases.

       Further, before agreeing upon the terms of the Settlement, the Parties engaged in extensive

factual investigation, which included numerous fact and expert depositions, document production

in the hundreds of thousands of pages, and discovery. The Parties also had undertaken extensive

briefing and argument on various significant legal issues, including in connection with class

certification. The Court had issued multiple orders and decisions on these important issues. The

record was thus sufficiently developed that the Parties were fully informed as to the viability of

the claims and able to adequately evaluate the strengths and weaknesses of their respective

positions and risks to both sides if the case did not settle. This favors Final Approval.

               2.      The costs, risks, and delay of trial and appeal.

       “When the prospect of ongoing litigation threatens to impose high costs of time and money

on the parties, the reasonableness of approving a mutually-agreeable settlement is strengthened.”

In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig., 851 F. Supp. 2d 1040, 1064

(S.D. Tex. 2012) (Rosenthal, J.) (internals omitted); see also Ayers v. Thompson, 358 F.3d 356,




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369 (5th Cir. 2004) (“[S]ettling … avoids the risks and burdens of potentially protracted

litigation.”). The Parties have extensively litigated this case, which is already in its sixth year, in

this Court and before the Fifth Circuit, resulting in millions of dollars in fees and costs. If the case

proceeded, additional discovery, likely as contested as the past discovery, would be required. Trial

“would be lengthy, burdensome, and would consume tremendous time and resources of the Parties

and the Court.” ODonnell, 2019 WL 4224040, at *10 (internals omitted). By reaching a Settlement

before additional motions practice and trial, the Class Representatives avoided expense and delay,

and ensured recovery for the Class. This favors Final Approval.

                3.      The effectiveness of the proposed method of distributing relief to the
                        Class.

        The Court concludes that the method of distributing relief to the Class is reasonable. All

Class Members who currently own real property located within a seven-mile radius of Defendant’s

Crosby facility (measured as a straight-line distance), will be eligible to have their real property

tested for dioxin compounds, if they request that, and, depending on eligibility criteria, will be

eligible to have dioxin compounds removed from their real property (each subject to fund

availability). For a period established in the Settlement Agreement, all Class Members are eligible

for site assessment and characterization for any real property that they own within the Class Area.

The collection and analysis of soil or indoor dust samples will be performed on a first-come, first-

served basis. For a period established in the Settlement, any real property that exceeds a State-

established standard for dioxin compounds will be eligible for remediation and, following that

period, additional real properties will be eligible for remediation based on the Settlement

Administrator’s discretion.

        In addition, all Class Members will have the opportunity to participate in an anonymized

epidemiological study to track the potential for future development of certain diseases.



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       This factor favors Final Approval.

                 4.    The terms of any proposed award of Attorneys’ Fees.

       As discussed in Section IV, below, the Court finds the proposed award of Attorneys’ Fees

reasonable given the duration and hotly litigated nature of this case. This favors Final Approval.

                 5.    Side agreements.

       The Court is required to consider “any agreements required to be identified under Rule

23(e)(3).” Fed. R. Civ. P. 23(e)(2)(C)(iv). The Parties have not identified any such agreement made

in connection with the proposed Settlement. This favors Final Approval.

       D.        The proposal treats Class Members equitably relative to each other.

       All Class Members are entitled to the same relief under the Settlement. Rule 23(e)(2)(D)’s

requirements are therefore satisfied.

       E.        The opinions of Class Counsel and the Class Representatives, and the response
                 of Class Members.

       Finally, the Court considers the sixth Reed factor: the opinions of Class Counsel and the

Class Representatives, and the response of Class Members. The “endorsement of class counsel is

entitled to deference, especially in light of class counsel’s significant experience in complex civil

litigation and their lengthy opportunity to evaluate the merits of the claims.” DeHoyos, 240 F.R.D.

at 292; see also Stott v. Capital Fin. Servs., Inc., 277 F.R.D. 316, 346 (N.D. Tex. 2011) (“As class

counsel tends to be the most familiar with the intricacies of a class action lawsuit and settlement,

the trial court is entitled to rely upon the judgment of experienced counsel for the parties.”

(internals omitted)). Class Counsel have endorsed the Settlement. Class Counsel’s opinions as to

the benefits of the Settlement are consistent with the Court’s own analysis of the Settlement under

Rule 23(e)(2).




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       The Class Representatives likewise endorse the Settlement. As for other Class Members,

out of an estimated 30,000 Class Members, there were only __ objections (less than __% of the

Class). This reflects a positive response from the class. See In re Chinese-Manuf. Drywall Prods.

Liab. Litig., 424 F. Supp. 3d 456, 491 (E.D. La. 2020) (“The absence or small number of objectors

may provide a helpful indication that the settlement is fair, reasonable, and adequate” (internals

omitted)). All proper objections were addressed on the record at the Final Approval Hearing.

       The sixth Reed factor thus supports Final Approval. Based on the record evidence and

argument submitted by the Parties in connection with the Settlement, as well as the Court’s

familiarity with the claims and defenses, the Court finds that the Class’s recovery under the

Settlement is fair, reasonable, and adequate pursuant to Rule 23(e)(2) and the Reed factors.

IV.    Attorneys’ Fees.

       The Court has fully assessed and finds fair and reasonable the payment by Defendant of

attorneys’ fees to Class Counsel in the amount, time, and manner provided for in the Settlement

Agreement and requested in the Motion for Attorneys’ Fees, Costs, and Incentive Awards (“Fee

Motion”). All such terms are the product of non-collusive, arms’-length negotiations. The Court

notes that approval of the Settlement Agreement was not conditioned on the award of any

attorneys’ fees or costs.

       The Court has reviewed at length the Fee Motion and Class Counsel’s submissions in

support of their application for an award of attorneys’ fees.

       In determining “reasonable” attorneys’ fees, under Supreme Court and Fifth Circuit

precedent, the “lodestar figure has, as its name suggests, become the guiding light” in the

determination. McClain v. Lufkin Indus., Inc., 649 F.3d 374, 381 (5th Cir. 2011); City of Burlington

v. Dague, 505 U.S. 557, 562 (1992). The lodestar is computed by multiplying the number of hours




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reasonably expended by the reasonable hourly rate. Strong v. BellSouth Telecomms., Inc., 137 F.3d

844, 850 (5th Cir. 1998).

       Here, the submissions included in the Fee Motion reflect that Class Counsel’s collective

lodestar is $16,032,304.65. This figure exceeds the total amount that was requested in the Fee

Motion and that was negotiated, and agreed by Defendant, to be paid pursuant to the Settlement

Agreement. In reviewing Plaintiffs’ submissions, based upon the Court’s experience and

knowledge of rates charged by attorneys of similar experience doing similar work, the Court finds

that Class Counsel’s hourly rates are reasonable and are commensurate with the skill and

experience of the participating attorneys and their legal support staff. See Klein v. O’Neal, Inc.,

705 F. Supp.2d 632 (N.D. Tex. 2010) (court is itself an expert in attorneys’ fees and may consider

its own knowledge concerning reasonable rates charged by attorneys of similar experience and

ability). Likewise, the amount of time devoted to the action was reasonable, given Defendant’s

vigorous defense to Plaintiffs’ claims, including an interlocutory appeal of the Court’s order

certifying a class and further proceedings on remand, which led to the certification of the Class

over Defendant’s strong objections.

       B.      The Johnson factors.

       In assessing attorneys’ fees in a class-action suit, the Court must scrutinize the fee award

under the factors identified by the Fifth Circuit in Johnson v. Ga. Highway Express, 488 F.2d 714

(5th Cir. 1976). The Johnson factors are: (1) the time and labor involved; (2) the novelty and

difficulty of the questions; (3) the skill requisite to perform the legal service properly; (4) the

preclusion of other employment by the attorney due to acceptance of the case; (5) the customary

fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client or the

circumstances; (8) the amount involved and the results obtained; (9) the experience, reputation,




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and ability of the attorneys; (10) the political undesirability of the case; (11) the nature and length

of the professional relationship with the client; and (12) awards in similar cases. Id. at 717-19. “To

fulfill its duty, the district court must not cursorily approve the attorneys’ fee provision of a class

settlement or delegate that duty to the parties.” In re High Sulfur Content Gasoline Prod. Liab.

Litig., 517 F.3d 220, 229 (5th Cir. 2008). The Court has considered the Johnson factors in assessing

whether attorneys’ fees are appropriate in this case.

       Here, the Johnson factors weigh heavily in Class Counsel’s favor. Of the Johnson factors,

the Fifth Circuit has explained that the court should “give special heed to the time and labor

involved, the customary fee, the amount involved and the result obtained, and the experience and

ability of counsel.” Migis v. Pearle Vision, Inc., 135 F.3d 1041, 1047 (5th Cir. 1998). There is no

question that prosecuting and settling these difficult claims demanded considerable time, skill and

labor. Class Counsel conducted extensive discovery, including use of expert testimony, and

overcame stiff opposition to the certification of a class. Ultimately, Class Counsel reached a

favorable Settlement with the Defendant, after spending more than 28,430.09 hours on this case.

The Settlement Agreement provides an excellent result on behalf of the Class, none of which would

have been available from Defendant absent Class Counsel’s work in pursuing these claims. Class

Counsel’s ability to seek other work was undoubtedly limited by the sizable amount of work that

this case required. Adequate compensation is necessary to ensure that counsel of this caliber is

available to undertake these kinds of cases in the future. Accordingly, Johnson factors (1), (2) (3),

(4), (5), (8), (9) and (10) weigh in Class Counsel’s favor. Johnson, 488 F.2d at 717–18.

       Moreover, Class Counsel prosecuted the action entirely on a contingent fee basis, assuming

a significant risk of nonpayment. Counsel should be compensated for the risk assumed by pursuing




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the case and achieving the excellent result for the Class. Accordingly, Johnson factors (6) and (7)

weigh in Class Counsel’s favor as well. Id.

        The Court recognizes that the amount requested by Class Counsel in the Fee Motion is less

than their full lodestar and that, if the case were to proceed and absent a negotiated agreement as

to the fee issue, Plaintiffs might have argued their entitlement to the full lodestar amount under the

fee-shifting provisions of the Resources Conservation and Recovery Act, 42 U.S.C. § 6901, et seq.

(“RCRA”). However, Defendant may have argued that RCRA’s fee-shifting provisions do not

apply, or for reduction to Plaintiffs’ lodestar amount below the negotiated figure. The Court need

not address these or other differences in legal positions on the fee issue that might have arisen, but

did not because of the Settlement. The Court simply finds, based on careful review and

consideration of the Johnson factors, that the negotiated amount is fair and reasonable under the

circumstances. The Court finds that Class Counsel has zealously prosecuted this action over the

course of many years and has provided high quality representation throughout that time. The

litigation was hotly contested, and it was in that challenging context that Class Counsel succeeded

in negotiating what is a very beneficial Settlement on behalf of the Class.

        In short, Class Counsel’s effort warrants the requested and negotiated fee. Pursuant to Rule

23(h), the Court finally approves an award of Attorneys’ Fees in the amount of $8,500,000, which

is to be paid separately by Defendant and in no way detracts from the relief afforded to the Class.

V.      Attorneys’ Expenses.

        The Court finds that reimbursement of the reasonable expenses incurred in the prosecution

of this class action is appropriate. After reviewing the parties’ submissions in support of the

Unopposed Motion and in conjunction with the Final Approval hearing, and pursuant to Rule

23(h), the Court finally approves reimbursement of Attorneys’ Expenses in the amount of

$1,862,175.06. This approved amount of Attorneys’ Expenses represents all claims for expenses


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past, present and future incurred in connection with this litigation. Moreover, the payment of

expenses will, pursuant to the terms of the Settlement Agreement, be paid from the Settlement

Fund, specifically, the Expenses Escrow Account.

VI.    Class Representative Incentive Awards.

       The Settlement Agreement contemplates the Court’s ability to approve Incentive Award

payments to the Class Representatives not to exceed $200,000.00 as compensation for the Class

Representatives’ time and effort undertaken in this Litigation in pursuing the interests of the Class

for nearly six years. After reviewing the parties’ submissions in support of the Unopposed Motion,

including declarations of counsel that detailed the extensive and time-consuming efforts of the

Class Representatives in pressing the litigation forward to a successful result for the Class, the

Court approves the Incentive Award payments. In making the decision to approve the Incentive

Award payments, the Court considers the actions Plaintiffs have taken to protect the interests of

the Class, the degree to which the Class has benefited from those actions, and the amount of time

and effort each of the Plaintiffs have expended in pursuing the litigation. Humphrey v. United Way

of Texas Gulf Coast, 802 F. Supp.2d 847, 868 (S.D. Tex. 2011).

       The Court finds this case to be a prime example of a case where incentive payments may

serve “to compensate class representatives for the services they provide and the named plaintiff is

an essential ingredient[.]” Id. Plaintiffs’ submissions to date in support of approval of the

Settlement demonstrate the unusually high degree of involvement the named representatives have

had in this case in pursuing the greater good of an effective and beneficial resolution for all

members of the Class. The Court finds that Incentive Awards are appropriate totaling $200,000.00

and to be divided evenly among the eight named Class Representatives: Larry Anderson; Tanya

Anderson; Bevely Flannel; Roland Flannel; Corey Prantil; Betty Whatley; Bret Simmons; and




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Phyllis Simmons. Pursuant to the Settlement Agreement, the Incentive Awards will be paid from

the Settlement Fund, specifically, the Incentive Awards Escrow Account.

VII.   Compliance with the Class Action Fairness Act.

       The record establishes that the Settlement Administrator served the required notices under

the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, with the documentation required by 28

U.S.C. § 1715(b)(1-8).

VIII. Distribution of Settlement Fund and payment of Administrative Costs.

       Defendant shall pay the amount of the Settlement Fund as set forth in Part III of the

Settlement Agreement. No later than 10 days after Defendant pays the amount of the Settlement

Fund, the Settlement Administrator shall create and fund the four escrow accounts and funds

described in Part III: (i) the Property Characterization/Remediation Escrow Account; (ii) the

Anonymized Epidemiological Study Escrow Account; (iii) the Incentive Awards Escrow Account;

and (iv) the Expenses Escrow Account. Administration Costs and other Expenses/Costs associated

with the Settlement shall be paid from the Expenses Escrow Account, as provided for in the

Settlement.

       Upon completion of the implementation and administration of the Settlement, as set forth

in the Settlement Agreement, the Settlement Administrator shall provide a declaration for filing

with the Court containing an accounting of the Settlement Fund and the amount of the Settlement

Fund, if any, to be distributed cy pres.

IX.    Releases and other effects of this Final Approval Order and Final Judgment.

       A.      Releases by Class Representatives.

       By operation of this Final Approval Order and Final Judgment, the Class Representatives

(including any Class Representative and all other persons acting or purporting to act on their

behalf, including but not limited to his/her relatives, executors, heirs, successors, agents, and


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assigns) shall have unconditionally, completely, and irrevocably released and forever discharged

the Released Parties from and shall be forever barred from instituting, maintaining, or prosecuting

any and all claims, liens, demands, actions, causes of action, rights, duties, obligations, damages,

or liabilities of any nature whatsoever, whether legal or equitable or otherwise, known or unknown,

that actually were, or could have been, asserted in the Litigation, whether based upon any violation

of any state or federal statute or common law or regulation or otherwise, that arise directly or

indirectly out of, or in any way relate to the Litigation or the Allegations.

        Further, the Class Representatives shall, by operation of this Final Approval Order and

Final Judgment, be deemed to have waived the provisions, rights, and benefits of California Civil

Code Section 1542, and any similar law of any state or territory of the United States or principle

of common law. California Civil Code Section 1542 provides:

                A general release does not extend to claims that the creditor or
                releasing party does not know or suspect to exist in his or her favor
                at the time of executing the release and that, if known by him or her,
                would have materially affected his or her settlement with the debtor
                or released party.

The Class Representatives shall, by operation of this Final Approval Order and Final Judgment,

be deemed to assume the risk that facts additional, different, or contrary to the facts that each

believes or understands to exist, may now exist, or may be discovered after the release set forth in

the Agreement becomes effective, and the Class Representatives shall, by operation of the Final

Approval Order and Final Judgment, be deemed to have agreed that any such additional, different,

or contrary facts shall in no way limit, waive, or reduce the foregoing releases, which shall remain

in full force and effect.




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       B.      Releases by Class Members.

       By operation of this Final Approval Order and Final Judgment, Class Members other than

the Class Representatives, and all other persons acting or purporting to act on a Class Member’s

behalf, including but not limited to the Class Member’s parent, child, heir, guardian, associate, co-

owner, attorney, agent, administrator, executor, devisee, predecessor, successor, assignee, assigns,

representative of any kind, shareholder, partner, director, employee or affiliate, shall have

unconditionally, completely, and irrevocably released and discharged the Released Parties from

any and all claims, liens, demands, actions, causes of action, rights, duties, obligations, or

liabilities, known or unknown, that arise directly or indirectly out of, or in any way relate to the

Litigation or the Allegations that (1) seek injunctive, declaratory, equitable, or other non-monetary

relief, of any nature whatsoever arising under any legal theory or claim whatsoever, whether by

common law, statute, or otherwise; (2) arise under the Resource Conservation and Recovery Act

or the Comprehensive Environmental Response, Compensation, and Liability Act; and/or (3) are

brought in a representative or collective capacity, of any nature whatsoever arising under any legal

theory or claim whatsoever, whether by common law, statute, or otherwise, and seeking any relief

of any nature whatsoever. Class Members shall be forever barred from initiating, maintaining, or

prosecuting any Released Claims against the Released Parties.

       Further, the Class Members shall, by operation of this Final Approval Order and Final

Judgment, be deemed to have waived the provisions, rights, and benefits of California Civil Code

Section 1542, and any similar law of any state or territory of the United States or principle of

common law. California Civil Code Section 1542 provides:

               A general release does not extend to claims that the creditor or
               releasing party does not know or suspect to exist in his or her favor
               at the time of executing the release and that, if known by him or her,




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                would have materially affected his or her settlement with the debtor
                or released party.

The Class Members shall, by operation of this Final Approval Order and Final Judgment, be

deemed to assume the risk that facts additional, different, or contrary to the facts that each believes

or understands to exist, may now exist, or may be discovered after the release set forth in the

Agreement becomes effective, and the Class Members shall, by operation of the Final Approval

Order and Final Judgment, be deemed to have agreed that any such additional, different, or

contrary facts shall in no way limit, waive, or reduce the foregoing releases, which shall remain in

full force and effect.

        C.      Other effects of this Final Approval Order and Final Judgment.

        No action taken by the Parties, either previously or in connection with the negotiations or

proceedings connected with the Settlement Agreement, shall be deemed or construed to be an

admission of the truth or falsity of any claims or defenses heretofore made or an acknowledgement

by any Party of any fault, liability or wrongdoing of any kind whatsoever to any other Party.

Neither the Settlement Agreement nor any act performed or document executed pursuant to or in

furtherance of the Settlement is or may be deemed to be or may be used as an admission of, or

evidence of the validity of any claim made by the Class Members or Class Counsel, or of any fault

or omission of any of the Released Parties under this Final Approval Order and Final Judgment or

the Settlement Agreement, in any proceeding in any court, administrative agency, or other tribunal.

Defendant’s agreement not to oppose the entry of this Final Approval Order and Final Judgment

shall not be construed as an admission or concession by Defendant that class certification was

appropriate in the Litigation or would be appropriate in any other action.

        Except as provided in this Final Approval Order and Final Judgment, Plaintiffs shall take

nothing against Defendant by their Complaint. This Final Approval Order and Final Judgment



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shall constitute a final judgment binding the Parties and Class Members with respect to this

Litigation.

       The claims of Keith Lyons and Greg Nason that were not released as set forth in the

Settlement Agreement and above are hereby dismissed without prejudice. In all other respects, this

Litigation is hereby dismissed on the merits and with prejudice, and final judgment is entered

thereon, as set forth in this Final Approval Order and Final Judgment.

       Without affecting the finality of the Final Approval Order and Final Judgment hereby

entered, the Court reserves jurisdiction over the implementation of the Settlement Agreement. In

the event the Effective Date does not occur in accordance with the terms of the Settlement

Agreement, then this Final Approval Order and Final Judgment shall be rendered null and void

and shall be vacated, and in such event, all orders and judgments entered and releases delivered in

connection herewith shall be null and void and the Parties shall be returned to their respective

positions ex ante.

       There is no just reason for delay in the entry of this Final Judgment, and immediate entry

by the Clerk of Court is expressly directed.



IT IS SO ORDERED.

SIGNED at Houston, Texas, on this _____ day of ________________, 202__.



                                                 _______________________________________
                                                 KEITH P. ELLISON
                                                 UNITED STATES DISTRICT JUDGE




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 LIST OF CONTRACTORS TO PERFORM THE PROPERTY CHARACTERIZATION
        AND REMEDIATION WORK AS SET FORTH IN PARAGRAPH 3.3

•   SKA Consulting, L.P.
    Contact: Scott Leafe, President/Managing Partner, leafesk@skaconsulting.com

•   GSI Environmental
    Contact: John Connor, Founder/Principal, jaconnor@gsi-net.com

•   Edge Engineering & Science
    Contact: Christopher Colville, Partner, cjcolville@edge-es.com

•   Golder Associates (now a unit of WSP)
    Contact: Eric Pastor, Principal/Practice Leader, eric_pastor@golder.com




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